 

 

;lN r;i‘i<i'll: tl'le_'r'll;I_) suits il);l'srli';lzjlt;:'jr ti:(`)'l.l"u'jli‘ mla 'iril ill l\/:l';l'l)'l) ills-1 t)ls"l‘lzl<i:'ir‘
oilNA`s'l-i\/';u_.ll__,l_<;rl\\§<~»sl~r 2012 fm 16 pp 22 18

Shemel§a Il)ra_him } U|‘;.';_ y c `

7 NlClQLE ‘Lli":ll:i.l»\;z tv ‘*
Plttintii`f

\s z mem N<;). 3:';.2..~@»9;1)19

Sleep Stu<§y of jl’v'¥iddle 'l"ennessee &

,Kel£y \A. (jarden Ml_`,> ) Judge _E'\’evin `l~~l, Shar )

   

jl\/,l\urfreesh<)ro l\/_lfedicai (jffinic Surgl
(.`§elit.er j§_’A & l`)oetor Andrew Hunter )

.Ford et al

li"iRS'l" _A hfilil.l\ll`).!il'lf} ¥?"()R (`_'}R..»’Ni%/il\fiAR (lf(_`)R R¥_%l(.`."l"l()l\l s-Xi.\ii) l\’!{.`)"l.`i{}i\’$ ¥*_`{)R l\~*”l`fill`_)l.{f.`z\l,.,
N’f%i(`:§`l_if(}`l:i\l& M`El)l(.`_\`.»'\l._, l\'"iA LPRA{YFRI(`:Yi%.`. (j/`(}l\»/I`Pl_it\l`i\l"`l" Wlr`f"}"i~`S"l`A'§"fil ()l`l`,‘
I__ji.M_.l"l"A"i"l()NS (:`{)N"l"l`N §_.l§_llvf (:)I~"-`(`_`_.`£-I\Rflil {)()(:F"l"R}Nfil

 

(`.`omes now Shemeka Ibrahim, by temporary pro se style, and hereby files this suit

against the above named Defendants’ and in support thereof states as follows:

"`l"hal: tile l§’lainti'li"is Sl:temel<'a `l'l;)rallim is a resident o'l"Anti<;)ch, lellllw~s<,e i)octor
,/\h<iltew `l~'l`lirite;r l*“'<_)rd (l”l€reihat`tc:rr l`-`"ord) & l\/tu.r’l"ree.~'_;hol'o Medical Su'rgi (`j`enter l"./-\'
C`_T<.)rpotati<.m et al (hereihat"ter l\/ll\/§{_T) pr<'_)\fidlh§_.;_; thedit;t:ll services to the citizens ol` '
lulm.s~»t<, and has its principle place <'_>'l"l)l.lsi:'ress l<i)c:a'ted iii z’\'turl`re<~:sht_)r<_)v "`:l_iermessee and
their emplt)yee/agent/'ser\/atrt `l§.tl.reti W_ li§l_:'l.let .Ri\l who were ill charge oli"tlie surgical
count and instrument slip and l~`~`"t_)rd have a medical duty in which both her and li`ord as
liiedial ’ptotizssiohal are required them to recount those ct)tt<)ned/sp<mges instrument put
they breach there duty by not tec<;)un't:_i;hg them prior the patient being nasal. suture cl.osi,l.re
ap after st.lz'§_.>,ety on Au.gust l(l, ;,"Z.O`l `l.,

l.\leali§zent:e/,l'vledic;'il l\”lal!)ractice /Rcsponde§te Superior Aaeucv/ & f*"ailure to
Supervise

No\/v., T`he l?’lz~i,:ih'til*l"stall,\ that during all ol`the times alleged herein that slip
Was receiving medical care and treatment 'ii’o'm said l_'.`)e'l`ehdants' and the said
l`)elf`endants Woi'e employed and acting within the scope ol:`that elaiploymerit. lfind the
said Detendants` l`~’,l:iysieia:ns the are tesp<i)psihle for the breach o’l"app'lical:)le n'iedieal
care tj)c;»casioped lay their emplo_\/ees/'agept!servatit, the l.`)el;`~<:l').dants hereby \>vl')._ic_h tesul'ted
in a physical and mental irii't.l:ty to the Plaintii"t`, No\A/, l'.`)octo_r ll`<)td deviated litem the
acceptable standard ol"mediea.l care during the care and l:te::trrleht ot`the .li"laintit`i" oh or

1
Case 3:12-cV-01019 Document 7 Filed 10/16/12 Page 1 of 55 Page|D #: 47

 

before An§;nst `_l_t`), 2011 and thereafter by l`ailinig to properly supervise the medical care
and treatment that was hein a pre'vided by ll ord et al retire jl?l_aintil:`t` and that this deviation
was the direct and proximate cause ot`a physical injury tn the 'l`-’lalntil*l:` and the direct and
prrn<:i;inate ea.nse ot`all ol"the fli’la:inti'l`t”s inj titles and damages and that the l’la.intit`t` did
net assn nie the risk et her injuries 'il"l'ie l§)c-:l"endants2 l\f_lrs. liletty `R.ese the patient
arlveeate and ler'nii'["ei' Wilst)n ( hereinafter l.`l_ese &Wilsnn) the e'l"l”iee manager :t`<;)r
ll_`,`)<_)¢;:'tnl" herd and the elinie sta.lfl" i"or hltiri:`reeshere htledieal Clinie Snrg_;i (ffenter l?.i<§.
therei,:na:li"te:r lv'_l`l\/l(`.`,) and at the time was beth an enipleyee/agent/ser\fant and Wnrl<ing en
er he:l§`ere lane 5, 2012 during a phone c<.)nversat;ir_)n inci‘:lern and a t'.)l"ll_ee visit te l\»/:lrs~
illnse. 'l_"`lle `lf)eteiirltiri,ts lilfl`vlC t)pe.rates there business at `1272 ('_`J"zirrisr_)n vl_`_`)ri\re
h'ljtit'l’reeshr)t't;), l"eiiiiessee 37l29.

"l`"he _lf)ei`e'ndants‘ Sleep Study e:l`fh~:liddle 'l"ennessee and l.')ecter l<e_ll§,7 i’-\, Carden
thereinal"ter (f.,`.arden) is a sleep medicine internal medicine specialist»l)nard eli,i;;il)le.l
pulmonary disease, and critical care medicine 'Was ern.plr_)yed by said ernplr)yer and at
the tiine e'i"` this incident and Was wnrl\‘in§; at said leeation When the injury ecen'r te the
plaintil"t"_ '_`l"he l.`}el'endant lf`)eet<'.)r {.`,arde.n was an eniplr'_)§-»-'ee/agent/ser\!anl r.)t" Sleep
fi\<ledieirie el"l\.ffl'id.dle "l."'enncssee {`fer;')oratien (`hereinal"ter Sl\/l"l") Wlin is j;)rt)v'iding medical
care tn the citizens et` the St:at'e oil"'l`ennessee with its principle plane ei"hi.isiness lncated at
300 20th revenue l\lertli Snite 8(} `l\lashville, 'lj"l\l' 372{)3’>,

"l""nat all remaining l)el"endants are medical prnvitlers providing medical
services in the State n'f'l“ennessee z nd at the time et the alleged medical ma.lpraeticef
l\/fledieal i.re§.__;ligent in the State nli"`l`ennessee at the nine r)'i"the alleged medical malpractice
herein were all ern't>leyees../a§§entst'ser\/ants ot"tlie l.`)el"endants hrll\/l(]` and Sh~t'l" were
acting within scope of that enipleyinent/ag;ency/servant relationship Wlien the_\,/ ’t`ailed
te t`eilew the applieal)le standard nl" medical eare dining inv treatn'ient e'l`the l`)laintit"l" en
said dates and t`hereali.er. at .'.`)l_`_>(`) Zi`)‘)’ A\-fenne l\lertli finite S(l`l l\lash\rille, ll\l 3721§`)3 Slvl'l`
and lX/il\/l{l

"'l"hat all r)t` the injuries and damages sustained Wliich proximately resulted in the
physical and mental injury te the l’l_t-iintit`l:`Were the direct and proximate result el:` the
negligent aetlr.)ns and breaches e'i`tl:ie a.p'pl.ieahle standards o:l` tnedieal care by all nl:` the
jl.`_`.>et"r.-:ndants withei;lt anyl act er eniissi<;)i_i en the part ot` the l’laintitl:` directly therennt<;)
ee_i;itrilri.iring rand that the act el` n;iedieal malpractice and medical negligent <i.)ccnrred en
Att§;§nst `_l llvi 20 l 0 and tilereai`ter; in the Sta.te el""l`ennessee.

l had given notice prier te the thing r_)t"tliese l\/lr;)tions le all `l_`j>el"endants. n letter
notice require the plai_ntil"l"’s tie gi\e a l")riei"`deseri|')tien e:l`tlie lawst.iit/ee.ntplaint te the
de:l"enda.nts l:`er the pnrpese tn try to settle the matter l:)ei"ere 'li_lin§g, the snit. l arn a 39 year
eld Al`rict-tn-Ainerican wt)man with a disability ot`one being diagnose with mild
retz‘-rr<.l.ation "l`he medical malpractice and medical negligent action in Wliicli `l~`i`e:rd done tn
i:ne may have been one er mere nli"the 'lf`<)llewing: External (_)pen Set<)plasty,
Setrerliinnr)lasty, _l‘¢ilr)dilied 'li§»xt.raeorpereal Seteplasty, ()pen Rhinnplasty approach
();:)en Setr)plasty teehniques. Witli bilateral excisinn inferior turbinate partial er
cernplet~. and partial er complete Snl:ininens resertllen, "l`nrhinerltniney» and
Anesthesia nose surgery inn based en in'l"erinatien and l)e`liel"'li`erd and l\/l"l\‘l`{j? billed
§\/ledieare/"l\/ledieaid 'i"er these eodes ;l{l;'\'\',Zl'}q S{ll¢l{lt 3(}13€}, {'ll`_ll(i{l. l contended that the

 

2
Case 3:12-cV-01019 Document 7 Filed 10/16/12 Page 2 of 55 Page|D #: 48

 

jl_`)ei"endant l")octor `l`i`ord who is an otolaryngologist. l was relerral to l*`t_)rd by my
l§l(.l`l~j offices their assist h'¥'aria/"hl.ttrit> who knew ot` l"" ord and inl'ii)rined lite that one other
relative had work done lay llord and he done a §g_,ooi;l_ioh on him/ther l;`lased on information
and beli<~:l:`d l\/lariz~ii'"i`\/larie had lel'"t: the r_)l"lice once she got word that l itt/as in the pr<;)cess ol`
thing a legal action against l~`i`ord, lint l was advised by l§lr<_)l<e a nurse assistance at {`_iood
`l*l`ealtl_i Associates to sue l~`"ord so l took her advice and did jost that"s, lflr<i)ol<'e told the
that l had a legal action against 'l-`@`o'rd_ l was referral to `l`iord l"or roy sinus and lyin{)lt
hodes/mass on or before §luly l 5 201 `l,

l\l`ow, my necl< have a tender suli)inandil;nilar saliva_r'y gland enlargement a that
had about a l cat in slate since then the mass and lyrn.ph hodes has rni.i.ltiple and increase g
which spread bilaterally to my parot'.id glands too l alias coi'istantly that it was n<i)tl:iing `
going on with me and the pain was all mentally in my (lteail)~ i»’-\nd, this also why, l l
believe that the radi<;)lo§;ist at Southern `l~-'lil`l ch<;)ose not insert the number size o:l` the
masses and lyniph hodes so that it would not be his or her dictation l had not been
informing ine ot` such information 'l"he behavior o'l" the radiologist was outrageoos and
reckless

i\lo'w these doctors neglected or liailed to consider cancer or other disease as
part o:t` the differential diagnosis or to i‘e:lerrafl the plaintit`t` to another specialist l had
always been told by Sa‘ngeet`lia my l`)Cl`»" nurse assistance and the l§§iN"l" doctors it was
notl'iing; there was ne incision underneath my nose and there was no lylnpli trades or
class underneath my ear l had corn:ini_ied to he lied to and l inst got t`et-.~zdv tip to the point
that it has been too ii't;istrated, l did not know how some ol`thern come to the decision
without looking at me or any i'.)l"'my scans "l"hey inst told roe that people gets these lyinph
node. l have been persistent in inl`:i')rrning the doctor"s/"nu.rses’ ol" the pain hat again
other than l§)octor Vinson told nie that the pain was in my head l inform them ol:` roy
swallowing p'robletn, and the pain in roy 'lf`i-icialq shoulder and neck area l could ala-rays
:l`eel the pain and it was extremely painful l arn ti"igliten and scared

lt is undisputed there is an unknown mass growing in my saliva glands bilaterally in

winch the radiologist tail to insert the sizes ol these mass/lynioli modes and the plaintii"l
have the right to lmow this in;l`<')rmation_

lt is undisputed that l need to tie examining i`or cancer or a disease that may be
the cause o'l" the swelling or chances in tny salivary glaod_ 'l`his particular type o:t`
change coold be henlgn/maligmmt or a disease but even though it is rare it is a till/559
chance ol"cancer, list this should he consider as part ol` a dil`l`erential diagnoses and

should l)een ruled out prior to reaching any diagnose

lt is undisputed that a 'l'ine-needle aspiratiort., ultra sound or (l'l" seen should
have been performed t`rorn one ol" these doctors when l*` ord t`ail to order such testing
during my initial visit this woiild have pr<_)\tided a timely diagnosis instead the mass
continue constant to grow l had to live \>»"ith the extra clirtmic pain with no treatment
er monitor l"or this prol:)lern. "l`he pain corn:innes to increase since luly illv 2008 until
presently "l"he pain has been as toll<')w:
`l_ l having trouble stilling breatl'iina correctly

se

3 l
Case 3:12-cV-01019 Document 7 Filed 10/16/12 Page 3 of 55 Page|D #: 49

 

id

ll havc 'l"aciai muscle :i"ce_l wcak. on both side o’l";my i"`ac€: and noc`k, and
shoulders

3 l:’arii oii` my ii`aco is numb

4 ivl'y saiivary gland and thc tail oi' my parot:id gland arc in constant pain
in which i cannot open my mouth wide without pain and if can’i: cat
wii:.li<:)ut pain and this cause more terrible pain to just speak lt hurts to
open my mouth to speak and chow

L/z

"i"hc (`f.`.<i)nstanco `l'i<=:adacho swolling/iump around my jav\-»-", hook area is just
too pari n.:i"u`i

l\`l<')w, none oi"thoso i`)o<;:tors’ kno\:v oi:` the proximate cause oi` some oi` my pain
bcoausc they cli<:)r.)sc-s not to obtain my medical records and those records would havc
advise thom to request a simpic (_f,"ompuiod 'i`omogra:phy (hcrcina:f"tcr C`fl`) if’ositron
i`§¥`;'missi<:)n 'i"oirai;>graphy (_l_iorclna:l"t:cr Pl;`;`i"i") l\/iagnotic R_osonai:ioo l'n:iaging (iioroina:f~`tor M`R.i)
scan.

’i"`hoy c<i)old have order an `li'icisi<m lfii<;)psy Surg‘ory or a li`inc Nocdlc i-’\spiration
(hcrcina:i"tor i*"i\i 1~'~\") just io soo i'f`i:l’io saiivary giand or nerve need to i)c remove or to soc
i'i;`thorc aro a canch ccil_ thcro to soc ii"il'to l`~)iaintil`i` ncod a radiation, or any other
troatrncnt. ii jo st do not know what is wrong but this do not give those doctors a pass
to not give inc improper core and slandcring mo stating that the pain was not l‘cal and
treat thc 'ii.inoss as such jlf bad to suii:`or for no reason at all iTSut they s`l"loi_:iid have send
tissue sampie to a pathologist i_a`b ii`or testing boii`oro thc mass and iyniph nodes grow
larger and this may havc boon av<l)id. "jlj`hat test could have stoppcd. thc spread oi` said mass
and lymph modes to go bilaterally i:`Si:tt not tojust send/or request my tissue 'l"<'.)r a simple
specimens scotng to soo il:` ‘,a.ncorous growt'hs will inuitipl_v in the siidcs or fha
expense of not knowing and to rule this out is gross ncgiigoni;.

il\l`<'.)w, time plays a role in <'.liagn<;)sc and treating a maiianancr/disease or inst do
analysis because of the cx,_.tcnsivc of oain. `Now; during the (}pon Sei'op_last'y
"E.`ochniqoe there are authors who contend that a thorough physical examination will
allow for accurate diagnosis of septal deviation and deformity and that open setoplasty
is not to be used for diagnosis Now Ford did just that because he was truly aware of the
Maxillary bone crest spur and the size of the deviated septum and all my medical records
back up What I am saying about Ford not knowing the size of the damage septum and
Where the damage is located he assume it was only my inferior turbinate because of what
he visually saw in his office

In addition, Ford only told me that Setoplasty and a turbinate reduction There is
not a hard-set rule of when a nose should be opened under any circumstances,
including for a septal deflection. A severely deviilted anterior septum located within
the anterior 2 cm of the caudz_ll septum is tvpicallvg reason enough to open a nose.
The real reason that this should not have occur is that Ford did not know where the
deformities was in my nose, Ford may have lied to say my anterior was deflected or
damage by _;L in order to do an Open Setoplasty but, Based on information and belief;
In Ford mind he already knew he was going to open me up. Itruly believe Ford does an

4
Case 3:12-cv-01019 Document 7 Filed 10/16/12 Page 4 of 55 Page|D #: 50

 

Open Setoplasty/Open Rhinoplasty to his entire Ethic patient. And better yet I would
go even further to say he may do all his Setoplasty Open. And the problem with this
everybody’ s’ anatomy is not the same and it not medical necessary

When documenting for CPT code 30140, submucous resection of the inferior
turbinate, partial or complele, any method, the medical record should reflect that the
physician entered or incised the mucosa, with its preservationl while removing or
reducing a portion of the underlying bone A simple statement submucous resection was
not performed nor would it reflect the documentation required if the procedure had been
performed bilaterally. Dr. Ford wrote simple dictation statement and not a complete detail
report of my procedure and he did not have anything in the report about preserving any
tissue or bones.

Now a 30130 Excision inferior turbinate, partial or complete, any method
should be used if a portion of the inferior turbinate is removed Now, Ford removes
more than ‘/z of my turbinate height and this made my nose to have problem with it nature
ability. And, my CT scan can speak for itself. Now Ford keep insisted that he did not
sewn any nasal packing in my left nasal but patients inferior turbinate is a very
vascular structure and it can bleed easily and when a portion or more than one half
ol` the inferior turbinate is removed, lt is usually necessary to place nasal packing for
2 cr 3 nights So `l*`otd had to use a nasal packing and again my nose once open and film
would prove this as»well, When third lett the nasal packing in alone with the dotsal_
splints il was extremely miserahle and had a hard time for more then two weeks the
packing was in me because l""ord forget about it. ll went back Sevetal times due to pain
and he did not reminder that he use a packing in me l_ also believe the reason liord open
me up is because nose of skin ol`coior patient has inmate :l"ean.trcs o‘l" weak supp<')tting
cartilages and the tip modification and management of the lower lateral cartilages may he
accomplished with most standard techniques hut the fli`,xternal Rliineplasty approach
allows :f:`or access to address the unique challenges accompanying R.hinoplasy in a skin of
color patient And llord knew this is and that is why my nasal was done lay ()pen
Rhinopiasty approach and this lead me to believe that i"*` ord all his color clients this way

Caucasian, African-American nose which present a challenge for surgeons to address,
are a broad, flat dorsum and nasal bones a broad, flat, amorphous nasal tip owing to thick
skin and a prominent subcutaneous fibro fatty pad'7 a dorsum that lacks projection a
poorly developed nasal spine that causes an acuteness in the nasolabial angle; very wide,
round nasal opening sand wide alae and so-called weak nasal cartilages. So if Ford knew
this why did he open me up?

`Now we know that l was right that he had to use in my packing in my nose But to
go back to my chart and r'e-write a statement in there and not dictated when the correction
was done is just gross negligent:_ And to date l have seating inside and outside my nose
ll also believe that `l`i`ord open me up to simply gain access to another anatomic area, and
what I do know is that Medicare would not generally reimburse They thought that Ford
done a close procedure to me like the other General ENT does. And with the CPT codes

5
Case 3:12-cV-01019 Document 7 Filed 10/16/12 Page 5 of 55 Page|D #: 51

 

Ford use it Would not red flags them to ask Ford this too, The following CPT codes are
considered unilateral: 30130 and 30140

"l."hoso if)oi`:`ondants" all told mo that the pain is in my limit they just would not
treat my medical illne$$ hooauao oi`this roaoo:n, "i"o blame the pain on li`il.)toinyalgia ia
just _idiotio. liiooauso `l~'i`i`htoinyalgia doosn"t cause awolli_ngby ot`a maas geriod now may ho
in.:l:`ootion out l do know is that iihi"<`)n:iyal§;,ia does not havo anything to do with my throat
being swoiion_

At this tinio, _l` like to give a little known history oli` fihroinyai;;ia l\lowg l’)a<;l< in
tito day’$ dootots `ha<:-i<i then and some now do hot believe in 'i”ll)rotnyaigia Anth this too
ran cause delay in a patient card Sonto doct<in‘$’ believe that it is not an illuo$s and tho
pain was ali in these patioiit;$’ head 'l;';lasod on in'l"c_)tin;»ttion add li)o.liot`; $t:iontitit ia
i"oSot-itohin§g aliout this illnoas and they aro Still today l<'.>ol<i:ng 'l`orv now i'nod.ic:ati<;)n to fix
this disoa$o. What l do not understand in how doolot'$ otto gi\o you now medication and
not oduca:t_i.<i)n thoit patient ol:` the medication they aro tal<on. l\.'lodioation Sho'uld ‘oe a
dooision t`ot 'hotii pationt and dootor,

it is undisputed that Somo doctors know that it was truly Sornothing wrong horn
with thoSo said partients" and what liiii)toniyal§;ia have done is ailow doctors” to
cai”oi`uiiv listen and education tiiomsolvt:s` So tho los-son ii`oi“ us to learn from my
interpretation wait not an modioal export tostim<_)ny because i`in not ono_ lt isjust
ai:t<:)thot looson d<.)otti)ts should not ho (`,§i'andf:-tthoi~ i"or dt_)ing c<'_)ntint;iod oduoati<i)n, "l“ho
onti'l'o dootots should ho totalith to do continue oduoa'ti<i)n. (`fontinuo oduoz~ition oot:u`ao
allow you to have now i<n<;)wlod§;o and kohn you updatod with health cato changes i:`Sz-i.sod
on int`<')rmation_ and l)ol:iol:`; 'E.`*`ord is one ot`those dontors’ that have not done all of his
continued education courson l`:t`thoso doctors have not o<:)niolotod then continued th.oii‘
education Stu.dios they Should ho punished and accot;uttahlo i:`oi‘ not citing their continued
education olasst:s:. And they should not ho allowed to work on any patient to said
odt.i.oation is comnloto. Aod they hood to ho inonitorod yoatly to make auto those doctors
are doing exactly what they hood to he doing to keep up 'witl:i tii'no_ "l"his tacit ol`
lo’lo\'ylodgo oaui~_;on rtiodical 'malo.t'aotico ltuy$uit, l.`.`)ot:tot do not have tho t‘in:io to take
odt.i.oation dotson that \.\-»'<'.)tdd t`utthc~:;t their l<tit'>\a"lcé<il§;;ti o;i`now oaan Stud.ioa lil<o
ii`;il")tonij,--’z-t l gi a

 

No\~\u, those 'if}o:t`ondaotn" did not just make a simple n'iistal<o and thoy should not
got oii’i"lightly. l ain heated o't`tho §§_i;g_ unknown mixture of bacterial infection that watt
eating tip my skin too and it was just over look and not oulturo, "i"ho hat:-totia intootic.)n
has to come out ot` my body Somowhoro, hiay' it be the toott.itnq nose ot utino. But this
illneSS ~»tr;in~ as i'l'"it hoopa o<_)nting haol<_ i told Sangootha thus and she thought _l was
kiddingw all the Systom koon ro<:u'r'ring atth the antil;)iotio have got out ot`tny system and l
just want to l_\;n<;)w. Why"? litton today Sangootha does not l<n<_)w what the l_)ac:.totia woi‘o, l.
have spoken with S:<ti'igoo'tlia and hfljtuial:i at the olinic boggng them to got the tooult hack
out they j ust did not do it. l oven brought a iii‘iond to this yi&;it So she can Soo i"oi‘ l’io.taol'f"
what l have endured during my medical c.)'l*t`it:o vinits. l wz-.inju:+:t too siol< to deal with tho
tooling oi"thom not curing .»-"\nd this was tho laSt tithv ot`mt: tooling thio way too l felt
predigost Whon. San,goetha wore tnool<i_ny and making *iol<iit§; gontt;u"o about my illi:ios$.

'i

E>ho told mo that l hai/o the strongest thing happen to mo a:';~i:t`~it was tny ‘lf`ault. And l

6
Case 3:12-cV-01019 Document 7 Filed 10/16/12 Page 6 of 55 Page|D #: 52

 

 

deserve everything that weis happening to me

l nies too Weal<: end tired; l did not teel tip to pat with my :l`evet' end s`ll, l called
several times asking hit-irish have she retrieve my records :ti"on'i Sii.nnnit she told me
"“yes,"' based on information end heliet`; ivlarinh did not requested those stt:rnple until
sometime in Septenther ?.t.l`l§.?. nearly n month later when it vves entirely too late to test the
tissoe/ui‘ine/hlood sample l

l i`elt then S'<in§;,'eethe could have request ti,trther testing ot` my ssin;:)le. "`l"his would
have given ns the name ot`tl'ie unknown bacteria rand fnn§;ns infection "l"his sample
tvotild have educated the sts:l"'l";f~ind me shoot this infection t`or the ~Fcattn"e. And hesed on
in:l:`<i)rnnttion end helieif"; 'l"or some reason my hotly ives rejecting the antibiotics treatment
since An.gust 3d 2012 l heen having n fewer spike and blood pressure pulse had elevated
end to date no one knows the cause ot`niy fewer end where is it coming from lt is
undisputed that my P(f,`jl§* lies not been monitoring this illness nor do they have all oil"the
referrals ol" the doctors'l they have sent me too and those doctors did not send any follow
tip letter heel< diagnosing or li.z»iiving; n treatment plain oi`snid cause ot illnt-:ssl `Novv,_ the
plaintiff is not asking t`o'i' s miracle 'i"ni just asking ti simple Sonography test that is
relatively inexpensive end non~invssive tool with `hi;f..g;l'i diagnostic <;:'<:ipnhility_ Whieh hits
hi gh~res<_)hition trensdncers, ains_t<i)rnic struetni'es and various disorders in the
st,ihinsnidihuler sense can he id.entitied~ ._l`:`%tit since she l"elt than nly l`un§;us infection was in
my heed slone with the 'l"ever spike Snn§;eethe did not feel thin l needed n test done /f\_nd
she end l.\/Tieriz»ili hoth asked r_ne were my i:`ever come 'li'on'i, `l. told them hoth l. did not know
as they vvere smoking st ine. ji;`z`.ver since il told these doetors” end nn_rses’ wl;int ll`*-` ord
done to me the mission began

'jl"`he doctors’ hogan to vitrite things in my medical reeord that l stated hut not much
tit eli ot`tvl'iet they had instructed nieto do lvlfost oi" them began to he defensive and ran l
unnecessary test theft \'voold not reveal what actually the if)etendsnt dt,)ne to tne_ l W.§ts so
died when l_`)o \/'inson end i’itts hoth told me that no l\/.iRl.v C"l"i X¢~rey san see (",nrtilzi§:;e in
any ii;nn§._;es. l 'l"elt n relie'l`. l site-tidy knew end l told them he'i"ore the testint_j»;d that they ere
not going to see the l§i'i)rei§gn ohject on the seen heent.ise li"ord i'en‘io\-"e this ot.it oil`rny nose
already lint (`,Therdsh insist that the scenjust going to he ot`the heed

'lj"he nasal packing Was removed hook in Septeinher l, 2()`111 these doctors vvere
out to prove tne tyrone they truly had each other hook him now since other i;`:`.'i\l"`_l` doctors
`l"r<i)tn another state told me Why they did not do any tissue sample t‘estti.ttg’?. l told hint l
did not know and lf did not have nn answer its to why? i\loi'ie of this doctor did not do this
test and now, what l did not understand is"’ \\"’lty‘?” l\iovv; in l-’\.ngnst ZO,ll it only tools
`l.`)octor Sl,svit less than thirty days from the time l send hint my (f}pers.tion hletlioatl
Repott end irns§;es he told me he eouild fix my problem end then is Where `l` l'i'n_.md out that
my inn.xillery spot ives remove

Wl’ta.t l did not tinderstnn<:l is to have n patient to endure torture is
unpro:l"essio_ns.l especially when these doetors knew that ever Surgical Operation has a
tendency to complications, and What is undisputed is only the surgeon who does not
operate has no complications The knowledge Of relevant complications is important
and essential to me so that my decision could be made, this Will reduce the incidence of

7 _
Case 3:12-cV-01019 Document 7 Filed 10/16/12 Page 7 of 55 Page|D #: 53

 

such complications, but to minimizing the gravity of an impending complication, and for
treating a complication once it has occurred

\

'.l`lie radiologist itinding was uncertain is because oil the delay oi` oomparii:_lg my
images and those eomparis<irn would have diagn<_)se the true tliz-i§.-_;n<:ise. "`l."he radiologist
should have written the size oi` such mass/ivmph linde so the ot_>i'npz.irisnn would be easier
to read and compare 'l.“hese do<;t<i)rs did take my medical oornpla-iinl serious enouin and
this cause server physieal and mental pain l could never understainl how these dootors`
i`ail to inform me o:li` the bilateral spread of this mass/ lyniph nedez.iq or trialigneney is
seating me to date And l have the lf)el'endants to thank i`or this

.i\iow1 I.`)ootor Williams order a C"l." sean back in vl::mua!jy il.t}, 20le but never went
over the result with tne. `I,`)oetor `Williams lead me to believe that everything was ol<a_v.
When my ”l"hyr<;)id gland and l`~’arotid got swollen, this cause pain in general, it is probably
wise to have an enlarged thvroid gland monitored on a regular basis Potential
problems to look out Jt`or include associated abnormalities in thyroid function, possible
compression oi` local structures such as nerves7 blood vessels and the trachea, and a risk 1
of cancer Accordingly, periodic assessments with attention to these issues should
detect small problems before they become more difficult to treat Now, a mass that
present with thyroid enlargement will have a thyroid nodule detected on clinical
examination or ultrasound.

Now, l am having nasal problem, breathingJ neck pain, choking, and trouble
swallowing and now change in voice should prompt either of these Det`endants to
investigation and focus on whether an enlarged salvia gland and thyroid enhancement
other mass might be contributing to these symptoms Similarly any patients with a rapid a
mass/ node prompt investigations to determine the etiology or cause of the thvroid
enlargement These doctors just did not do anything `Now these doctors had a duty and
they all breach those duties when they did not conduct a simple inexpensive
sonographic test to see it` the mass change into some form of cancer cells

'l"l‘ie d<;)ot<.)rs did not inform me to just drink water, message my neek, tliroat, or
just such on a fenton l did not know about this until Oc‘t'oher 7` Z(ll_.?l at St.one Crest l:`;`iR_
de;;iartment at Sn.iyrna. l.\lurse R..ielirnond there informs me that l litigant be su'l'"t`ering 'l"r<'_)m
the murnps. Again this is a itiisdiagnosed and a delay in treatment ii`any, l have never
heard oli` the mumps because my kids and l never contrasted this disease

l:`Sut again, there is some bacterial infection tl'iat is breaking down my immune
system `But i:`or now t`or this problem l was told to such on some len:ions and make sure _lf
set up an appointmern with `,l_`)oetor Reis, So l.\do.nd.ay morning on ()otoher 8, 201|.2v l did

just that l called l`)ii)e't<i)r \/"ii:iso_n o,t`fliee because jlf)oetor Reis is '\"'in_son medical partner So

alter speaking with \i"inson l had to schedule an appointment with both she and lf)ootor
R.eis, _l;`.lotl'i doctors are going to see me on the morning oi:`()etober 13th 201{2_ l will be
seeing \#’insoi:l l`or my throat and l{eis l`or post op pain l am still getting continue care
i"or this illness in which l am waiting to get the date oi" the <;)l;.)el'ation. l getting to weak
and l need this out ot` me as~soon“as possible

8
Case 3:12-cV-01019 Document 7 Filed 10/16/12 Page 8 of 55 Page|D #: 54

 

`Now in this ease you will l;)e able to see that most d<`.)etors/ nurses have seems in
whitih some clo<;:tors/rnitse may give patient lenai acivi<:e as»well~as medical advice _i truly
‘t`eel that my l`”(fl`-’ should he taken eontrol o'l`n'iy rnedieal problems even though l never
seen her. But since dealing with Sangeetha every time l visit my physician’s office she is
always absences I can truly say that I have never met this women Doctor Reita Awargal
(hereinafter Awargal)

tt` Sa.hgeetha had any doubts oi` inv niedieal care she should have had _l§)oetor
A‘war§;al to eheek me out Bnt instead since she has a perse'nai interest in this ease she
stand as my physician and did not remove herself t`roni seeing rne onee she knew F`ord
was her so'n"s d<_)etor. l:`?zut she told me it was not a e<'_)ntliet o:i` interest '.`l`hey knew that my
nose was making this manning sensation and inl`:`eeti<i)n my skin now l"eels as ---~~~it` it was
stretching or pulling and this was ea:use rne pain l`er a year instead the allowed this pain
to inorease. lint what l do not understand ii"l"i'ord. removed inv entire nasal tip or just
soin_e. `I believe he remove all o'l"it_ And this is what you call _i\§t~isal "l"i'p Stir§;ery_ l did not
want him to t;ot;ieh the tip <1)'l"_r,ny nose because l was not having any problems and he did
not tell me a.l:)out this surgery work l\l`ow, even though $>`an§;,eetha knew it was a conl'liet
t)f`inte:‘est_ She told me that it was not Now, l have confined with her and she ased me
t`or her and herd nelsons-il gain l do not desire this at all l have never done anything to
none one ot` these doctors l ain only hein a treated this way because l open tip about l.`)i‘.
`_Fo rtl. lj)o patient need to just not say anything to their doett.)rs and inst hntt heeai;ise it can
he use against ns in et.)ttrt. Nni'se R.iehniend. told tne not te he saying anything like this to
a dt.)etor or nurse heeanse they would run you out ot"tl'iere ot`iiee. Shonld patient protect
themselves 'li‘otn st;ieh. hehaviti)t' so that these doctors don’t pitt anything in the patient
records that is not trt.ie? _l` had to go the extra mile to prove what l was saying was tree
lint what none <'_)t"these doctor knew twe.l\-'e (` leZ) months ago that liord dt_)ne a lot r.)l"worl<
on my nasal ca.rtilage, septnin and all ot`the eartilag§e work liorti done cannot been seen
on a §\~:’ER.§, C'_l`, or X»rays.

`i\iow, the only reason these l\"l" dt_)etors k now now is because l gave them a copy
ol` my medical operation report What Ef)r. li`ord did made it dit:`i'ietilt not ti>nly l:`oi“ these
doet<;)rs to treat; it made it dili`l:ieu.lt to lind a doctor who recognizes `l-`*`ortl teehnitit.ie So
these doetor wrote things in my medical and they do not recognize the teel‘inique li`ord did
and this was truly strange heeat.tse some oli` them been working l`or nearly tony t‘l()) yeai"s
and he did not know the w<:)tk:_ 'l"his had to he a new advance technique 'l"or those doctors
not to t'eet.)gnize this onera.tir.)n_

(`_)ne can argued wl;iy these doet<_n' don'“t understand the technique li`oi'd did l
helieve is because it is a more a Rhinoplasty teehn.ique then a Setoplasty l do not
understand 'i'l’tliese don`t did continued edi_;ication t`ot {`)t)en Se'lot;)lasty and ii"they did
Wl:ty clon’t they recognize l`"ord’s l.eel:iniot:ie'? "l"here have been a lot oi:`tinelean hand in
this ease and l do not know why l have to he treated the why l was while siek.

l have never seen anything like this l;)e'l"ore, What l do know is that since (3<'_)od.
`l~iealth .»-“`_\sst.)eiate is aware ot` the t"nttire lawsuit pendine, against li`ord et al this prompts
there tnedieal r_)t`i:ice to eiean tip their aet. The office began to hire a new lf)oet<i)r`s 'l'i'_)r

9
Case 3:12-cv-01019 Document 7 Filed 10/16/12 Page 9 of 55 Page|D #: 55

 

the clinic some e:m§;)loyees quit ii)ei`ore they got serve with a subpoen;>i. l felt that ii"you
run from an incident then you hiding s<'.)mething, Now what f do knew is that a ansuit
wiil get everyone to dean house and i`oiiow government ruies. (`_}ood iiiea!th
Associate is one ofthem. fl\lov\-'7 l do not know how .l.")octor Awargal is getting paid when
Sangeetha l'ia.d seen me for my first initial visit lf)oc‘tor Awa.rgal was not around for none
of my otiice visit Sangeetha has been w<')r_l<ing as independent contractor under A.wargal
provider inimber since l been there And i.ised doctor ..='fxwargai signature stamp when she
not present to make it look as if she always been there But is this ti'_)i‘gery and against the
law"?

Now, the CMS clearly state in the Federal Register on November l, 2001, that
the employment relationship is irrelevant to "incident to billing," as long as the
reassignment rules are followed The rules on incident-to billing are Medicare's rules.
Other insurers may or may not require adherence to the incident-to rules when billing a
Nurse Patrician’s (hereinafcer NP) works under a physician's name. Now Sangeetha has
continued to work without someone supervising her work. Awargal clearly knew this was
going on in her office. It has been extremely rare that l would see doctor Awargal in her
clinic. And the offices own surveillance cameras can back this statement up,

What l do know now is that both Awargal and Sangeetha does not always follow
the rules when it comes to billing and seeing patients Medicare under the incident-to
rules, a physician must follow the incident-to rules, Again Sangeetha has always
conducts my office visit.

Now records on part III, chapter II, states that the incidental services must be “part of
the physician’s personal services in the course of diagnosis or treatment of an injury or illness.”
Therefore, the physician has to perform an initial visit on each new patient to establish the
physician-patient relationship Although some local carriers also require the physician to see
established patients each time they present with a new symptom, national Medicare policy does
not require this. Nonphysicain providers may bill incident-to for their services during and after
that visit. Even those who can bill Medicare directly using their own provider numbers must meet
this requirement if they want to bill incident-to Ai’ter the initial visit, the physician does not need
to be involved in each patient encounter

The Carrier’s Manual states that “such a service [without physician involvement]
could be considered to be incident-to when furnished during a course of treatment where the
physician performs an initial service and subsequent services of a frequency which reflects
his/her active participation in management of the course of treatment.”

Now, when billing incident-to, nonphysical providers cannot be reimbursed for
consultations or time-based E/M services when more than 50 percent of the service is
counseling or coordination of care (according to the Carrier’s Manual, the only time that
counts is face-to-face time between the physician and the patient in the office). NOW, Submitted

incident-to claims that do not meet the rules are considered to be potentially false

10
Case 3:12-cv-01019 Document 7 Filed 10/16/12 Page 10 of 55 Page|D #: 56

claims Such claims are punishable by the Department of Justice and the Office of the
Inspector General (OIG)

fl believe that Awargi_l failure to monitor Sangeetha cause the proximate cal.ise
of my injuries Sangeetha could have treated me with the rare bacterial infection but she
truly through l was n.ial<ing this up hot if she did couid have seen this for herself

l have tried to get in touch with l`_`)octor /\wargal by phone and was
unsuccessful l lett messages with both if.`.)<')nna and h/lariah several times l even spoke
with iz§.rool<e. _/»\t my last visit l noticed the starting and the whisperi_ng ot` the sta:ti". .At this
time l still could not swallow and my fewer was slightly changing too high but l do not
know what is going on with my duct or stone l did have a mix hacteriai infection and a
fungus started after l left Sunnnit.

'fl"he doctor did not understant`l where this hinges caine horn and Sangeetl'ia did
not know why they did not do a culture l told Sangeetha et at `l did not i<now. "l"hat they
need to eaii rhein the conversation went back and l"r.)rth t`or more than five minutes roy
friend and l look at each other as to why they were not taken ute serious "l`hey th<i)ugl:tt l
was tying about this rare yeast infection l am trying ot` defending i'i'iyselli` once again l
have been going through this for some time now and s<')rnethin_g needs to be done l did
have a rare bacteria marcus infection and at the same time `i' had infection in my tnaxillary
sinus l had this sinus infection before and alter the surgery in which `l~`iord was supposed
to lisv my sinuscs

jl\io\‘»-vv no one try to treat or remove my benign and niaiignant turner or test to

see the sine oi" the extent o'l` the mass No doctors order a Superticial i~”arotidectoiny with
7 or without neck dissection with preservation o'l"the facial nerve is the treatment of
choice And the lymph nod.es are recommended with i;)i<;)[;)sy ot`anv sits iciotis hodes
should be examine and these doctors had a duty but they breach their duty when they fail
to order simple test that could have given a patient a change to get proper medical care
and the test are linowi.i to save lives 'i"he parot:id giand and surrounding structure have
important iii notion moisture inastict-ttion taste iacial sensation and :tacial movement is all
related to this partitid gland l feel that hiledicare had to pay tot unnecessary treatment
like going to the l;':`:`;R when Sangeetha could have done all of this in there o'l"`:l"`icev

 

 

`

"l“his was one ot the delays ot` niy true treatment l was lacking steroids/'
cheniot:hert-ipy treatment if any as a result of these d<,)ctors` and these doctors did not take
iny chief or_)n'ipla_int in a serious rnatter. 'l`hey allow the nniss/lj,/niph i’iodes to multiply
because they felt that my pain was made tip The li)e:l"endanrs actit;)ns was done
intentional and reckiessly. 'jl"liis hatefui behavior for What, just for telling to truth
their coilea.gue this pain was real and now ll have the scans to prove what l was saying
ali alone l am ashained and embarrass with the way l was a treated as a victim ot` such
outragetnis bel'tavior. `Based on ini"<.irniatitni and belie'l`, l truly believe each ol" these
doctors have the same insurance company poiicy carrier And this carries a lot of
weight as to how these doctors have no choice hot to protect each other so that their
policy would not go up front iegai action against his or her praetiees. l. felt if these
doet<'_)r going to lie on my medical records and not get eat.i,g'hts_ `i going to prove that there

11
Case 3:12-cv-01019 Document 7 Filed 10/16/12 Page 11 of 55 Page|D #: 57

 

are i.rnj')rofessional doctors out here 'l`his is a same as to how far a doctors would go to
cover up medical malpractice

(`)n or before duly _19, 2010 l was diagnosed wit'l'i il’ai'otid mass of uncertain
behavior 238 §,’riinai~y_ l had to go to the dentist/doctor t`or diagnose and treatment l
was al'.)out to remove all my teeth because cf this pain l been exi;)erience. l.`iut for the
next two years l was not bein§.g,v treated lot this condition because they did not believe the
pain l was feeling was real so this causes the delay and any treatment l need to have to
take care o‘l`this ntatte;r.

lt is undisputed that l~`i`ord done some type ol" (`)pen Setoplasty for no reason
And the other li?",`l\l"l" d<i)ctors were clearly unaware for an entire year l can truly say
alter talking with other ll\l doct<.)rs" have not done this te<;:l'm;ioue and have not
reci',)§_;niaed this type of Seto']’)lasty surgery l~`i`ord. may have took a ();;)en vRhinopli:tsty
with Advanee ()pen Setog)lasty surgery ii:ixtei‘nal Open Seto;)lasty hy means ol" an
{);;)en Rhino;ilasty approach should only he carried out i't`the Septu.in was severer
damage and this was the only way to fix the septuni, l'l~"l~i'ord would had order the l\/i'R.lq
(j_."l_" scant or X~ray prior to the surgery he (l~`i"ord__l would have l<n<'.)wn the instinct of the
damages of my septui:n and turbinate

Now, Ford owned a duty to me and he fail that duty when he was trying to cover
up his medical malpractice and Ford Standard of care to not oversee and or supervise
What his nurse Mrs. Butler was doing during the material count and this lead to infection
to begin With the plaintiff Ford had a duty to monitor and diagnose the enlargement that
Was cause by a presence infection or disease but he just fail to do so.

When the lymph nodes becomes overwhelmed with debris from the illness
infection it can cause the lymph node to enlarge and sell only Ford and the others ENT
Who are medical professional can diagnosed the cause of a swollen lymph node or mass
that is located in the parotid gland, salvia gland and I believe this is made my Thyroid
gland to enhance These doctors fail to do just that. I had both my submandibular and
preauricular swollen and still do, I have my sinuses infection and swelling in the nose to
the point When I just touch the tip of my nose it starts to slowly swell, And my head,
neck7 ears and teeth this too can be signs of the submandibular lymph nodes that are on
both side of my jaw. Ford insist that the pain was in my head and this is gross simply
negligent and Ford breach his duty by not ordering simple biopsy/culture test to See
Why the Plaintiff was having these post op pain Ford or the other ENTs fail to do any of
the following

o Which of the glands is affected? Most commonly7 it is the parotid. Conditions
differentially affect the different salivary glands.

o Is the swelling unilateral or bilateral?
o IS the swelling painful? Pain may be referred to the ear or throat

o HOW long has the patient experienced Symptorns? l-las the mass increased in size
since it Was first noticed?

12
Case 3:12-cv-01019 Document 7 Filed 10/16/12 Page 12 of 55 Page|D #: 58

o Are symptoms affected by eating?

» Are there acute or ongoing systemic symptoms suggestive of infection,
autoimmune disease, sarcoidosis or malignancy?

o Consider current medical and dental history7 medication and immunization
record
\<1)\,/\§ none ot` this was done to come with a c<;)nclosion ot` why l was hurting like l
was l do itnt_)w that this has been one ot`a bizarre a nd uncontroli:~tble incident that was
out ol` my cii)ntt'ol iii’on'i the beginning when i saw what Foi"d done to me and when l
explain this to these other doctors they thoi..ight l was just lying l am iiling this lawsuit on
several gr<.)u.nds in which those groun<:ls will he in the i'notit_)ns.

`l\low, some o:t`rny grounds consist ol" medical niali;)tactice & medical negligent,
l.i`beL punitive e<‘_)n’tparat:ive noneconomie, damages inisdiagnose,, 'l"a.ilu.re ini`t;)rtn and
diagnose in a tin'tely matter and this i:iegiigent lead to iymph arteries/mass to grow i"roin
one side to grow `bil;<ttei`ally throughout the eer\,-'icz i/" head and my throat area.. lt is
undisputed that these doctors have not given me a straight answer to the nature of
my iiiness and because their refusal i)i`ct)llecting§ medical data/images report lei`t me
in this much pain

lt is i.mdisnuted that an uncertain finding on a C"l" scan is inexcnsabie when the
images had been done in the pass where comparison could have been conducted to line
out the nature oi" the mass/lymph modes it is inexcusable to allow sali:\/a enlargement
gland to grow bilateral without monitoring and treatment

"l"he doctors had insulted me by saying that l have mental probieins as this was
the only reasi;n:i l was hurting so bad ”`l"hesc doctors tail to obtain medical record oi"i'nine
i"or the purpose to do a cc_)tnpar_is<,)n oi"the images to get the nndei‘line fanse, instead they
ignore the chief complaint in order to deal with this issue in hand

(`)n one incident l had a doctor lay the name ii)'l'"ianies l:`§i. ".l"aylor who is board
certified as a license (`)ti)iaryngolo§gist and board eligll;)ie t`or behavior health
physician ’l_"h.e problem is that the doctor has not pass the test to be a behavior health
p`i‘iysieian and trying to diagnose a 't;)atient who comes itt his .;iiT'ic-e and barely treat the
chiei`er_)tnnlaint by distribute antibiotics without doingr a infection coiture or biopsy oi`
the sinus wall is just gross negligent because these doctor have over prescribing
antibiotics as a means of treat everything instead <'_)i""linding out what they are truly
dealing with

M.`

   

rl"his lawsuit consists oi"seveta.l i'nedical negligent such asi patient medical record
tampering., altering deleting re\.>v-'riting, patient abandornnent, assault éi: battery lack oi`
c<.nist-:nt1 lailure to contact the hood ij)i"ug' & iadininistrative discrin'tination ot`ei\'-’il rights
violation l was c<i)ncern on how a medical device and the reused ol` my or any patient
cartilage is used again alter it has been crush and inserted back into my nose without
taking a tissue sampie to the pathologist lab i"or testing `l~`*'o.rd was retained to send my
tissue sample to the lab but instead he wanted to do short cuts with my opert~i.ti<;)n and this
is negligent ’l"his began a chain reaction o'lf` recurrent bacterial infection and some which

 

13
Case 3:12-cv-01019 Document 7 Filed 10/16/12 Page 13 of 55 Page|D #: 59

 

was unknown l had been having severe pain in the i)rid§g,e, side, and nose tip now
undeiineatli_ my nasal 'flf`he dei§endaru Andi‘ew i~»lunter l`-" ord ( hereinafter liord_) a general
li:`:`{NT surgeon mislead me and maybe other patients to believe that he has perform and is
qualified to practice as an ()torl'rin<_zlaryngology"s,-’ 'R,hinologist as his specialty to name a
few

his site by listing different type ol"speciai inquiry as one ofhis many skills The problem
with this is that `:`-'" ord does not have his sub specialty license in all these area ofrields_ ln
order for l*r`ord to be an ()tortiinolaryngol<)gist a eandidate must obtain a medical degree
in a four year»suh specialty program and complete with a residency is reqi.;iii'ed. Si_nce
the complaint,_ 'F ord had been tryii:ig to get his advertising clean-up to just advertise him
as a General l§§"`\i"l` (`_`)tolaryng<;)logy, l""ord only has one sub specialty license and that is
in the ears nose and t:l:ir<'.)at ('l~`;`§`N"l`") (1)t<')laryng<;)logy, Based on in:formati<_)n and belief l~`i`ord.
has done some type of Advance Septr_)rhinoplasty,, Rhirioseg;)tor_)lasty, iiistracorp<')real. with
a "l`nr`binedtonicy and nasal tip ai,lgment:atlon. l just want to know winch one l am a
victim oi"a surgery game wrong l~`~` ord had misused my consent to do some type Advance
Open Setr)plasl:y in which cause for my nose to be open "l`his was extremely
nnneeessai~v external incision `

 
 

Ford has derelict his duty as a healthcare provider to exercise a sufficient standard
of care and diligence; he neglect to inform me of the Open Setoplasty by means of a
Rhinoplasty7 Ford left this information out of our conversation and even when he asked
for consent with Medicare he was not clear of the technique he was using Ford continues
to delay, misdiagnose and treat my post op care. Ford was negligent in performing
inappropriate and unnecessary surgical procedures, neglecting to consult a specialist until
it was too late', failure to report the complaint to the Food and Drug Administrative
(hereinalter FDA). For the device and the reuse of my old cartilage could be causing my
infection and is causing my body to reject whatever graft/stent Ford left in my nasal tip or
bridge These actions cause the loss of consortium with my husband and violated state
laws by collecting fees through fraud or misrepresentation

Now, based on information and belief, what this court doesn’t know is that this
company has done this before back in 2003 on a whistleblower lawsuit and the case
against HealthCare Company (hereinafter HCA), Inc, its horne office is based out of
Nashville Tennessee. HCA was charge for criminal charges fines and civil restitution
and penalties The investigation revealed that HCA had systematically cheated Medicare,
Medicaid and other federal funded health care programs through schemes dating back to
the government recovered back to l980’s with referral of patients This behavior have
not stop it still continue to this date and I have the evidence to prove it.

Now, l placed my trust with my ENT, doctors, neurosurgeon and radiologist with
those in the healthcare professional who were involved with my medical care. l had no
reason to doubt these doctors/nurses during my course of my nasal repair surgery .and
mass growth And, to date l am still receiving continuous care in whichl schedule a
November 57 2012 doctor appointment with Doctor David Slavit who practice in New
York and one with Doctor Shah in October 5, 2012 in Chicago. The reason I had to go
out of state is because Ford done an unrecognized Open Setoplasty procedure that no

14
Case 3:12-cv-01019 Document 7 Filed 10/16/12 Page 14 of 55 Page|D #: 60

 

General ENT is aware of in Nashville Tennessee other than a Rhinoplasty surgeon I
found this to be very strangel That no General ENT doctor recognize this technique and
this lead me to believe that something was really wrong

I have seen several general ENTs here in Nashville, Tennessee. The problem is
that it took them a year to inform me of this news, I never had seen anything like this
before that no local general ENT doctors, do not recognize a Traditional Setoplasty
procedure I believe Ford Setoplasty procedure was done by means of advance/ external
open Rhinoplasty approach I was unaware until August of 2012 a year after the
surgery These ENT doctors who provided their services to me would not even tell me
why they would not perform an Open Setoplasty l believe because it is unpredictable
or it was an experimental/incidental procedure Based on information and belief;
Nashville Tennessee board certified Reconstructive Rhinoplasty Facial Plastic Surgeon
does this type of technique Either way, 1 do not know what Ford done to me, and still do
not because he tamper/alter my medical record. It is undisputed that a patient should
have the right to know what is exactly being done to them during and alter surgery
And, it is undisputed that my medical record was destroyed/rewriting alter/and tamper.
And I gave some of these documents for the other doctors to look at and they knew it
was wrong and none of them would say anything to me other than one of them.

I am concern as to none of the said doctors’ just look in my cervical/nasal area to
get a tissue sampling and get a radiographic study. And they would have saw what I been
complaining about all this time about the mass/lymphocytes that have grown and
multiply bilateral but what Cherdak did not know prior to Doctor Vinson looking at
Ford medical transcription report from August 2010 that both Vinson and Cherdak
couldn’t see cartilage on the MRI.

Dr. Cherdak could not give a accurate diagnose of what was wrong with me other
then she stated that it was inflammation and nerve damage their in my nose. But what she
verbally told me was somewhat different from her medical report dictation.

What I do could never understand is how doctors who can verbally tell patient
things that statement would not be in a patient record. She stated that she would not
diagnose me with fibromyalgia because of my anemia I told her where and what year 1
Was diagnose and who have given me a 22 page paper of this fibromyalgia disorder

Whenl inform Cherdak that Vanderbilt Orthopedic were the one who diagnose
me of this illness back in 2006 she then got extremely quiet, And again this information
was left out of my record too. Based on information and belief, I then asked Cherdak did
I get misdiagnose by Vanderbilt orthopedics and she just did not say anything This type
of bias needs to stop. These doctors have too much power in what they chose to
insert and leave out of a patient medical record is just negligent behavior and this
goes beyond the scope of her their employment. This too causes a delay with patients
care.

Itold Cherdak that I did not want any medication That 1 just wanted an answered
to what was going Doping me up and not finding the underline cause of my illness is
negligent Cherdak told me that the pain I was experiencing was corning from my nose

15
Case 3:12-cv-01019 Document 7 Filed 10/16/12 Page 15 of 55 Page|D #: 61

 

surgery from August 10, 2011. I already knew this7 but 1 wanted to know. Why‘? No one
done any tissue sample or test other than a l\/[RI/l\/[RA of the head was order.

Even though 1 was having pain in my head, 1 did not have head surgery so 1 felt
that 1 should have seen a neurosurgeon of the face/ nose instead of a surgeon that deals on
with only the head. But what 1 have notice with these doctors there is a patterning. As to
their intention to leave out critical information in a patient medical record and what
these doctors tell you verbally will never be in a patient chart. And in reality they are
not inserting critical medical information in a patient record that would help him/her
down the line to get a true diagnose of a patient illness. 1t’s a shame on how far a
patient have to go to protect what is verbally being told to him/her and what is not be
Stated their medical records I have seen and had heard it all while in such pain, M
prejudice As a lay person we have many challenges in life and when we get sick to
have doctors/nurses not to believe what we is feeling is real is unjust Just so they would
not testify in court But do they not know they could be subpoena to testify in court
anyway.

As a victim of a crime, 1 was treated unfairly and this leads me to be defensive 1
was explaining what had happen to me and no one listened but Mdoctor. 1 continue to
asked Cherdak and Vinson is there a neurofacial surgeon who does testing of the nerve in
the nose they both told me no. And this was how 1 found out that Cherdak only deal with
the head because she in up telling me that this is the field she dealt with.

Prior to Doctor Cherdak appoint 1 then saw Doctor Edward Lee (hereinafter Lee)
a neurologist but she told me that she would not be able to help me with my nasal
problem While reading my medical operation transcription result from Ford that 1 have
gave her. The problem with this is that was the reason for my visit Lee told me this as if
she just did not want to get involved. During the visit she asked me why 1 am Walking
with a cane. Lee said that 1 am too young to be walking with a cane. 1 then told her that 1
should not be discriminate because of my age. She then got quite as if she knew she had
hurt my feelings The problem was 1 went there for this reason but she treated me with
another one. Just like in legal terms in court “a bait and switch moves on me”. This
again is another reason of my delay of care for my nose.

What is undisputed is that under the differential diagnosis method, doctors are
required to make a list, either physically or mentally, of all of a patient's possible
conditions that could be the cause of the patient's medical problem? The list is based on
the patient's symptoms, medical history, physical examination, and the results of any
preliminary tests or other observations The possible conditions should be ranked by
order of severity and likelihood. Once the list is complete, the doctor is required to go
through the process of confirming or ruling out the possible conditions on the list,
starting with the most serious potentially life threatening condition first such as the
saliva glands enlargement, periaricular node and the nasal pain.

The changes in my nose have cause some skin loss with slight tone cc_)lora:t;i<;)n,,
nasal tip pain nerve pain l believe this could be causing my intection too lyle nasal wall
is missing l to 3 cm of skin iiident slightly l believe that this was done by the i:`$iove
electrocai.irtery or too just too much dissected/tesecting of my nasal cartilage and this is

16
Case 3:12-cv-01019 Document 7 Filed 10/16/12 Page 16 of 55 Page|D #: 62

 

noticeable "l"his too was not written in my medical notes dining the proced.l.ire. Based on
initt.)rrnation and belief what is undisputed is how other (lieneral li?`,.i\l"l"`s` did not
recognize l-*"ord 'lf‘raditional Setoplasty technique

<~,

 

’l"hese doctors are not informing me until n year later that they would not do an
(,);)en Setooln.sty procedure like `l-`i`o'rd done on rne. lint one can now argue that since
these doctors never perform a procedure like this who can say other than the patient l:it;)w
they are 'ii`eeling. .l;`-`lspecially, after we know now that my medical record is not reliable
and we know that l`~di ord dictation is not truly correct But the error here is that this is what
the other doctors had to rely on and this was not fair :l"or inc or them W hat `l"i`ord done to
rne was made inc lool<' like an idiot becai.ise he had clean op the record where there was
no evidence o:l" what l was speaking abont'? But wl:ii`le lT ord was destroying my records l
was collecting data that he clearly do not have And this conn would be shock as to what
l have to sl'iow this court "l"`his was the reason for dr'_)ing a l`iiniing documentary o'l` my
reconstructive proce<;lore so that we all can learn irons this mistake lint it took a c<nnplete
stranger to bring this to the l`:i`orn: so that this behavior want l'iapoen to a patient again

 

Now, my blood pressi,ire has e`lev;»ning vary from its l/ l il l heing the highest pulse
elevating to l 07 o;lf` its high and my temperature is ranging iitnn 998 to 102 on some days
with having the sintis, alone with this otl'ier 'are mix bacteria winch they did not l<._now
the names ot"snch bacteria-t l was told that it was a yeast iri:l`ecti<i)n_ hist this rare infection
was eating up any skin ton this causes some of my nasal pain and fatigue l have been
l;iattling this 't`or more than sixty (6'0) days and this has scared me to know that no doctors
is unaware ot` where the lever is corning ‘l"ron'i. The delay has cause inc fear and doctor
(:ireaves t`rr.)'rn Snniniit thr_)ug`lit l have been out of the count ry or in the 'rn<;ntntains. l told
the doctor that l do not hav a pass port l was diagnr_)sed with sinusit:is and a rare mix
owens/bacterial inl"ectiori, l have been told by l)octor `l§.ell y »-\ (§'farden ( hereinafter
(`_farden`} who ii:i:l"orrn roe that there is rio doctor in Tennessee going to touch me within a
ten foot pool or write a medical malpractice letter on my behalf Based on in_'l"o:rrnation
and belie;l`; l believe this is the reason oi`r_ny delay in care She slip and told me that she
have been speaking with other doctors about rny case in which l did not give her a
consent to do this l believe my "l`hyroid became irregular is because oi"iny parotid gland
and saliva gland is being dysi"nnctional. l have not had a biopsy order inedicz-ititniv culture
testt to treat any of this enlargement or i'nass prohle'ni.

vl`)r.)ctr_)r {',`,arden had told me to visit l*"ord because he was the only one knew the
<;)oeration he done on ine. `l told Carden like he going really tell roe what is going on with
what he done l.`.i`,ven th<.)o.§_i_,'h l did not want to go back l went hack on i\'iay Z<fl, 2012 in
which this was rny last visit witl;i hitn. (lar"rieii wanted me to do sornet;l"i_ing that was not
legal and she did not mention what she wanted me to do was not dictated this in my
medical records She is adding thing in rn.y medical record and carefully selecting the
words she \>va_nted to pet in my record instead of the entire visit what we discuss li`~lven
though she knew l did not want to go back ljtist went hack to do of what she asked me
to do l gave her intent letter back in Angnst 2012 in which she has not responding to the
intent letter other than a letter she wrote back to say she could not be my doctor anym<_)re.
Based on int`orinz‘n:i<;)n and believe; she and l~`i`ord may have the same insurance carrier
Which is the State Voh.inteer h/l.ntual lner since Cornpany hot (`.‘ar<;len choice to ignore

17
Case 3:12-cv-01019 Document 7 Filed 10/16/12 Page 17 of 55 Page|D #: 63

 

now law roc]uii'omonis because Sc,)iiieoho is filing pro So lomporzi'ry Should not be over
look this i;~;; ji.:i$l unjust and Shou_ld hot go uri,;)i,lhi$l)od.

l\lo><’t:.; l have a copy ii)'l`.my (_T"l` Sczui 'l"`oi‘ llam;izu'y lon Zl_)l.? and the r'iidi<i)lo§,__;is'l: l`or;;-_;<;)l:
to i'om<;)\fo the lilial result notes from the patient (f,`l`) oo;;)§-’, lf)ool'<.)r l\l'lurl<’ Willio‘m$
(hoi"oin_ellloi" Williams) 'Wa:`>' the one who order this S<:z.-m, "l"ho Soaii_ oli<'.)\-v that l have mims
that has grown bilaterally and lsi s;)i"i>miiug i:lii"i‘)ugliout my cervical uecl<. And my
Svm:netr.l€ seil)nmn<libular aloud h§.s cilla,.i“g§»_g§gmd lho si iuli`lc:isico of this lindlu f is
uncertain l did not know why lie/she said the 'llndiiig was uncertain when there are

many images l'liey could have compare 'l"rom.

 

 

l"hl,§; i'zidiologi$t ali Sou't:liem l"lills l--l<'_)Spii'z-i.l did riot cli<;'lia.l:e the sizes were But the
i“u.diol<;)glsi. doctor or 'i:eoh'nioia:o zu'o Su'ppo.so<l lo use size as .~>'l rough guide as to whether
they lymph mode and mass as to whether they are likely to be involved in any
pathological prooos:;. 'l`hi$ is noglig_§ool hoosiuso the §'adi<_)l<;)§_;is;ls zu'e not comparing and
diola'l:lng \r»\»-:'l;la:t: they ore Soeii’)§g in my images l coi'xliinued to have mild loli: 'mo.‘<illai'y
Sinus iiiuc:osz-x.l thi_<:l<:eniiig iii Which tilio million ho Szii<l that it; "1$ giving is because lioi'd
lo:mo\rfo more than ‘/& ol"oiy lurh'imu:o iii which `l~`*`ord Sileod lie only remove `l/’;-Z. l woo
uoawzu'e l:lia'l: he Wa.$ going ‘!'o i'omc_)\'/o diem al all ho did nol ocli.ioolioh what tui‘hiuaiiod
was and lho ii;ii]')ol‘t;zmi o'l" 21 jamison ix.:irl)lrzzul~

blowv over the oox.ir$o ol" moixih$, my nzu;al .~;;l<in Woi"o 'l`<-:o`liiig ad i'l`WaiS
$l‘i`otohiii§gloulling and mold r1 h a l<ouol<lo p<`_)'p};)ii’)§._§ Soi.md 'Will:i<i)ul: l:lio Sou.nd. boiu§; ;i)ro:soul.
’l`ho pain got Somo held that it immune and lho howe l’olt: S't‘.ing;irig ;_)lh and uoo<llo$ 'l`o<`:lihg l
i"oh iiu.mlmo$&; Wli.i,i;'.h spread tli_r‘<;)ugg,‘hou.t my lilco "l`his; Wa$ the only Why l could do:§c;ril)o
the pain l how 'o§:voi‘ l:`ol,l lil<.o tlii$ before iii ii"iy no§;o So it weis hard ilo explain il to the
doctors What ivas claiming my pain But ll_ioy l<;i'xow Wl'ial' Wo$ claiming lil;ie pain b'u:i; vthey
clio<i)€.o 'l:o "“waii' and See"' l believe that somolhin is _)ress_lu f on m dorsum
columella because of the swellin ). lji;i$l feels lil<o a little gril§e limiting in there and
When you loi,,soh it- il juSt move around `l~`*`<_)i‘d Was hoping that he W<;>uld got away With
what ho dono lo mo "i"he pi'<.>hlom is lhal: l*»`oi`d who expecting lli<"-zl l would hot feel '!’lio
pain iii my oos§al/doi':z;-il lip and the l'om<iwzil oi"m_g/ nasal rio ozu"iila.§g€: and iho l;)i'id§;o My
hollis gols slightly Swolloo hud tom colors Whou l l,ouoli il dod il l"o<:l like niosh Whoi`o you
cam mold my rioso to l'l'io She-loo When l try to do thi.~; it' c:.azx.uso;\; pain l\/ly hose Slighrly
iudonl'i; in Si;>:io ll iool<'$ as il ii has boom 5<.)1&"1€\>»*l.izili l)u.x“ii, "l`hi;~i; walls hot part o'l`my
iri:l:`<i)mi<=:d consent and l l as nor always <1)li`t:lii,~;; 'ris;l§ oti"Si<;io coloring Sli§_§hi;ly and the indem
my hose l`ool:'~_; like 13 can be molded And '_l` l.i‘u.ly believe the blood downg correctly to
my nasal tip and this is Why my skin tis&;uo may l').avo gi‘owii over al hud nerve and this is
the pi'ol)l.ori'i The hose Swolling_

     

   

jNoo-g 21 minority ol"siirgeons use the open approach o><'cll.isivoly l"oi‘ all their
oa.lioi’)l$. `R.oa.:;oiis 'l`or doing So may include a lack o'l` experience with the closed
apoi?<i)acl)_ h is iiup<;),r“laoi lo nolo that 'mi..xl't:i';i)lo gl'u‘lis including ol'.)li.u'oolh»u" sum gr'a'lls and
hutton gri-ills are S<i)i'uol'ii'oo:z riioi“c: easily ii;i$ox“i'od through the closed approz'i,<',h. Whilo
tho Open Rl;inoplast:y incision generally hollis bhautlfully in Sl<illed honda §»;3~_
unnecessary incision is always host zi.v€_)_ldod_

This lawsuit brings about the doctors failure to diagnose the injury of

18

Case 3:12-cv-01019 Document 7 Filed 10/16/12 Page 18 of 55 Page|D #: 64

 

postoperatively. A high level of suspicion for nerve injury should be maintained after all
nose surgery. Ford denial of possible injury delays appropriate treatment for my
complicate and this spark our relationship Since my nerve is suspected, Ford do not
make a timely diagnosis, taking responsibility for the injury, and referring the me to a
physical therapy and possible repair by an experienced peripheral nerve surgeon I had
an honest and open communication with these doctors and l felt betrayal because they
thought I made this up. So l. have been in unnecessary pain and fever for nearly fifteen
months for no reason

No‘w; l am reqi,iesting this court for balancing the iii uit_ies in this case. I am
requesting for an extension of the time limit or a delay in filing because it took me a
year to find out from these general ENT doctors that these doctor do not recognize Ford
procedure Vinson had to go to doctor Reis a Rhinioplasty to get some type of answer. l
have call most of Nashville, Tennessee general ENT doctors and they all told me that
they only do a close Setoplasty

 

Federal question under the new law for medical malpractice expert if your local
General ENTs doctor’ do not recognize a simple Traditional Setoplasty procedure how
can a plaintiff get a medical doctor to say that the procedure Was done wrong if they do
not recognize such procedure/technique?

Now, Dr. Vinson, Carden, and Sangeetha all told l me that they would not write
their medical dictation like Ford did. I told them why haven they reported him. No one
said anything But they have a duty to report such behavior

Vanderbilt Hospital wants every doctor who operates on a patient to dictate
everything in that patient medical operation report Ford was missing wording in his
finding and he was removing nasal parts that he should not have done especially if the
information is missing from the record the patient consent form and pre op report The
patient was unaware of Ford intention of removing such maxillary crest spur.

Federal question is there a conflict of interest in which an insurance company
like State Volunteer Mutual Insurance Company who representing nearly all of
Tennessee doctors/nurses policyholders in this state should be represents the
defendants And if a doctor chooses to write a medical expert witness letter to the
plaintiff would they be red flag said doctors for testifying for said plaintiff Can the
insurance company drop these individuals, and is a clause Which states that it doctor or
nurse goes against the company for any reason can the insurance be cancel leave the
doctor or nurse with medical insurance coverage

Now, I just want equity (fair play) in this court. This was not under my control
and I am still having continued of care which it has cause me to travel outside the states
even though l am not able to do so at this time. l will be having corrective reconstruct of
my nose and this take time and money for something I did not cause to myself the
Defendants did. And Sangeetha/ Mariah were supposed to send this request in months
ago and they still have not done this request Medicare told me that if I go I have paid for
this trip myself if the paper work is not in their office This has caused a delay with my
trip and so this has to say in me a little longer This pain is very unbearable, in which you

19
Case 3:12-cv-01019 Document 7 Filed 10/16/12 Page 19 of 55 Page|D #: 65

have to experience yourself to see what I am feeling There are no words for the way I am

feeling lt seems as if Medicare/Medicare may not pay for this because it is out of

network. These doctors verbally told me that they have not and would not do a Setoplasty

like Ford did to me. The problem is that they could not put this on paper but verbally tell
me this. They do not want to keep a paper trail of what they all telling me but they
keeping a paper trail on what I am telling them which again this is M. And is this
medically correct?

l\iow, after the surgery in Angnsi i€.l, 201 i l still was sni`fer with difl"ieuii:

S

breathing plus nasal pain, _p<i)st»na.sal drainagej loss oli`taste, smellj gaspi.n§_-;_n sno'ring while

sleepii:ig. (}n .lannary 20¥_2 examination revealed that my left n;ia><iill.a.ry si'ni.ls has
in:i"ectioi'i inn whe.i:i `i Went back to l~"" ord he stated that he did not treat me for nay sinns.
.l.i`yon i‘ecali in the prior above statements of this ennipiaint this was the reason for

my visit with ii`ord in tile first place for my sinus and right ear lymph node pain back

in 31in iiiv zi}`iii_ ,.'-\gain., ¥-`<`ord is a General Fl‘\l and he is_iust being negligent by
overl<;)ol<ing illness he siioi..ild be treating Anothei" example of example oi"iliis is where
I)r. Ford drove to his other piaee of business Where he works for i“v'I`,l`Vi`(`...`. who owns
this location iiiii»’i i\lorth l~~¥igiiiand Ave to used their computer and pnii up m
medical chart to dictate \`»’i"hat lie wanted to add and remove wording in niy chart
because based on information and l)eiief; this office do not have a medi ‘ai patient
chart program in niaee yet in which ii`ord and any other doctors and nurse earl go
i)acit to n patient snedicai chart at any time or day of the year to make changes in a
patient record and want be able to get caught inserting and defining new dietation.
if yen do not know anything about eom;;)nier, ii"or<i went oni' of his way to commit
niedi ial record fraud

 

Now, M._\/ husband had to take me to niosi of my doctor app<_)intnient and confront

me at home by kissing me in the effort to li'elz.i><; me and turning the televisii;>n stati<:)n to
roy favorite show And, now lie and l have to travel out of state for <'_)i"iice visits and to
schedule reconstructive surgery and this take time All oftth has `l<ee;;) me from
deteriorate

N<i)\i'x, a ai;i<:)tl_ier legal issue has raised the doetrine of continuum o'l`eare because

these general l;`i`N"l" <.li;)oi'ors in Nashville "i"eni'iessee i saw here did not recognize the

Set<i>plasty or<.)oedure i~`~"`ord did and inform me that they would not do this at all "l"liis lear

me to search 'l"oi' a d<.)otot that was out ol"stai'e- after sailing several di".)ctiins here in
Nashville "`i"ennessee they informed me that a Setopiasty is only a eiose procednre not
an open one "l"lie only way you would do an open api.)roach is when the septum is
severaiiy deviated and there was no other choice to wi';)i'l< on the septnin.

l

In my case my nose was only had a 3mm left deviated septum with a left turbinate

hypertrophy? However, when there is continuum of negligent of medical care related to
single condition occasioned by negligence, over a finite period of time. The allegation is
that the facial CT scan was misinterpreted When originally read by the radiologist I
addition, none of these ENT doctors’ notice that I had a maxillary crest spur was
removes And it took a year later for them to inform me that they would not do this.

Thus, there are several negligent acts relating to one condition What is

20
Case 3:12-cv-01019 Document 7 Filed 10/16/12 Page 20 of 55 Page|D #:

3

ll

undisputed is whether the tests are separate action or a continuum of negligent treatment
as my claims lt was undisputed that my l\/[RI, CT Scans and X-Ray should have been
compared to other images, I have told each of these doctors to do this one little thing
but these doctors just ignored my request I got feed up and brought the paper iri myself
August 2012 when I gave it to Doctor Williams, Vinson, Lee and Taylor they just did
know what to say other than they would not perform a Setoplasty like Ford did. lt is
undisputed that it took these ENT a year to long to inform me that they would not do an
Open Setoplasty by means of Rhinoplasty or whatever Advance External Setoplasty
Ford did.

I call Doctor Becker his assistance told me too that they do a close Setoplasty
The only reason to do an open Setoplasty is only if you had any Rhinoplasty done.
What I do believe is going on is that Ford is doing all his Setoplasty open, but you not
supposed to do an Open Setoplasty not unless it is severely medical necessary and in
my case it truly was not.

The question is whether Ford did an unrecognized Open Setoplasty procedure
Ford operation is only noticeable by a Reconstruction Rhinoplasty Facial Plastic Surgeon
and this type of specialist has to be the one to correct Ford medical error. Other general
ENT would not have done an Open Setoplasty and I don’t know of any doctors in
Nashville, Tennessee that would do one like Ford did. I do know that Rhinoplasty
surgeon would do an Open Setoplasty while conducting Rhinoplasty procedure surgery
but Ford is neither a Rhinoplasty surgeon Ford has an ENT with a License to practice
general operation on a patient and whether we can rely on Dr. Ford medical dictation
after we know it not reliable

Federal question, whether it’s normal or medically correct for Doctor Vinson to
go and get assistance for her partner for an answer that only Doctor Reis who is a
Rhinoplasty surgeon would have known. And he gave us the answer we were looking for
the entire year. And she this process is writing in the patient medical record too.

 

Federal questions whether it’s impossible for plaintiffto get a medical expert to
testify against an unrecognized Setoplasty procedure if there is a conflict of`interest of
the Defe.ndants insurance policy holder withheld these doctors to do such testimony l
Plaintiff argue this has been a problem for lay person her in Tennessee which cause bias `
on medical malpractice case So the injure lay person be left to drop a serious lawsuit
only because they the Defendants know how to get away with medical malpractice And
based on information and belief; State Volunteer Mfutua| l.nsurance Company have
been sued for such conspiracy cover up in the past.

Ford et al negligent cause the injury of the plaintiff wherefore it lead to the
damage, physical pain7 mental anguish, additional medical bills7 long time care, and loss
of any hiture work earning capacity Ford leaving a sponge in me without prescribing
medication lead to the infection

Federal questions whether an expert witness can tell a lay person that they
would not work with them because they are not a lawyer and can lay people who filing
prose temporary be treated unequally from a expert witness in Tennessee only because

21
Case 3:12-cv-01019 Document 7 Filed 10/16/12 Page 21 of 55 Page|D #: 67

 

they are not a lawyer. I have not read or found a state or federal law which states that a
person must be a lawyer in order for an expert witness can work with a pro se plaintiff
Plaintiff argues that it has been very hard to find an expert witness in Nashville,
Tennessee because of the type of Setoplasty surgery Ford done is not recognizable in this
state. This was not linder the control of the Plaintiff. This cause un-do harm for filing
on time and how a pro se plaintiff can be treated differently only because they don’t have
license to practice law. What are we saying that since people are filing pro se temporary
that we are not entitle to such equity as a lawyer

And Whether we must be a lawyer before any expert Witness in Nashville,
Tennessee can help us? This has cause harm too because the Plaintiff has to find expert
out of state because operation that was perform her is not recognize Plaintiff argued that
she has a list in which called and spoke with said experts from Nashville, Knoxville,
Lebanon, and Memphis she spoke with because they are being bias for no reason

Federal question whether how Tennessean lay people case every gone to trial in
Nashville , Tennessee when there are serious medical malpractice cases that are being
drop only because we are being violated of our due process and the few experts here
in Tennessee are making it extremely hard for us to use them only because we’re are not
lawyer is just bias. We are being hurt/injure in all angles and there is a lot of cover up
and home cooking going owe with the insurance company and their doctors’. This
behavior need to be exposed These doctors do not need just a slap on the wrist as a
punishment

And, do we have to be rich just to use the court system it truly unjust and bias.
We are dying her for no reason just because we are poor so everybody wants to walk all
over us. A_nd, all this has happen to me because l am poor and l told the truth about what
is happening to me l find it strange that these doctors do not recognize this procedure
We this can easy can be proven with their past and present Setoplasty operation This is
truly a sad day that our court house are being treat in a way were bad people can get away
With criminal and civil crimes l"m just saddened', while in pain have all this happen to
one person for no reason what so ever, This is just too much pain for one sole to endure
all at once

CASE LAW

|n Meadows v Patterson the Tennessee court decisions The rule is that a hospital
nurse, although not in the regular employ of the operating surgeon, is under his special
supervision and control during the operation and the relation of master and servant, or
principal and agent, exists during the operation and the surgeon is responsible for the
negligence of the nurse.

French v Fischer The courts stated that Tennessee had elected to follow the cases, which
made the counting of sponges an administrative function and not the result of the

surgeon's control over the operation However, the court did find that there was
negligence individually on the part of both the doctor and the scrub nurse. The doctor was

22
Case 3:12-cv-01019 Document 7 Filed 10/16/12 Page 22 of 55 Page|D #: 68

 

 

held for his own individual negligence and Baptist Memorial l-lospital was held for
negligence of the scrub nurse under the theory of vicarious liability.

"The common law doctrine has been described as follows:

[I]f the facts show continuing medical or surgical treatment for a particular
illness or condition in the course of which there is malpractice producing or
aggravating harm, the cause of action of the patient accrues at the end of the treatment
for that particular illness, injury or condition7 unless the patient sooner knew or

reasonably should have known of the injury or harm . . .

Hecht v. Resolution T rust Corp,; 635 A.2d 394, 401 (Md, 1994); Robinson v.
Mount Sz`nal`Mea'ical Center, 402 N.W.Zd 711, 716 (Wis, 1987), The rationale
underlying the rule is that a patient must trust a physician to remain in his care
and during that care', the patient is not likely to suspect negligent treatment 'It is

the trust relationship that may make discovery of a claim difficult.'

Section 8.12 of the A|\/|A's Cocle of |\/|eclica| Ethics: Current Opinions clearly
states,

It is a fundamental ethical requirement that a physician should at all times deal
honestly and openly with patients Patients have a right to know their past and
present medical status and to be free of any mistaken beliefs concerning their
conditions Situations occasionally occur in which a patient suffers significant medical
complications that may have resulted from the physician's mistake or judgment In
these situations, the physician is ethically required to inform the patient of all the
facts necessary to ensure understanding of what has occurred, Only through full
disclosure is a patient able to make informed decisions regarding future medical care.

Ethical responsibility includes informing patients of changes in their diagnoses
resulting from retrospective review of test results or any other information This
obligation holds even though the patient's medical treatment or therapeutic options may
not be altered by the new information Concern regarding legal liability which might
result fo§lowing truthful disclosure should not affect the physician's honesty with a
patient

This statement nicely captures the moral rationale for error disclosure: Patients have a
categorical right to a reasonable disclosure of truthful information about their health
conditions, tothe extent that information is available to and known by their treating
professionals.'j*(’ l-listorical anecdotes amply demonstrate, however, that when a patient's
adversity results from a medical error, the truth-telling and disclosure obligations
described in section 8.12 are frequently disappointed, and primarily for the very reason

23
Case 3:12-cv-01019 Document 7 Filed 10/16/12 Page 23 of 55 Page|D #: 69

 

that the section identifies the professional's concern regarding legal liability A 2002
study of disclosure practices reported from more than 200 hospitals stated,

More than half of respondents reported that they would always disclose a death or serious
injury, but when presented with actual clinical scenarios, respondents Were much
less likely to disclose preventable harms than to disclose no preventable harms of
comparable severity. Reluctance to disclose preventable harms was twice as likely to
occur at hospitals having major concerns about the malpractice implications of
disclosure ,

That finding ought not to be surprising A considerable body of literature attests to
how the threat of a malpractice action, along with feelings of inadequacy and
incompetence, causes immense anxiety among health professionals and how they adopt a
variety of defensive mechanisms_including rationalization, distortion, blame shifting,
and omitting mention of the error t_o the harmed party_when faced with the
commission of a harm-causing error.g

“The insured shall not, except at his own cost, make any payment, admit any
liability, settle any claims, assume any obligations or incur any expense without the
written consent of the company.”]3 This clause, which obligates the insured to
cooperate with his or her insurer and desist from cooperating or colluding with the
injured party7 has a chilling effect on many error disclosures The frank admission of a
harm-causing error~e.g., “Mrs, Jones, an error occurred in your care that was
responsible for the harm you experienced, and we apologize for the harm it caused”_is a
slam-dunk admission of liability. But because it violates the cooperation clause, the
honest disclosure of harm-causing error risks the possibility that the insurer will
refuse to cover whatever associated costs, principally from a lawsuit, might occur to
the insured from the error.

An admission of fault exposes the doctor and/or institution to damages per se.
And the medical malpractice...insurance policies usually provide that an admission of
the insured of error voids coverage for the related claims for damages

The physician who wishes to act ethically and disclose a harm-causing error is therefore
confronted by the possibility of financial, and, perhaps professional, disaster. ln what
follows, however7 I argue that (l) reported cases where insurers successfully denied
coverage to insured’s who violated the cooperation clause exhibit factual situations that
bear no resemblance to a health professional's disclosure of harm-causing medical error7
as morally required; (2) as applied to the truthful disclosure of medical error, the
cooperation clause might be unenforceable; and (3) as a strategy for conserving the
insurer's loss reserves, the practice of concealing error might be entirely
counterproductive, i.e.7 concealing error might cost the insurer more than would truthful
disclosure of harm-causing error.

Now, physician's admission of liability to a harmed or injured party appears
to constitute a theoretical violation of the cooperation clause. Yet, l have been unable
to locate any case in which an insurer successfully denied coverage to an insured party
whose ethical code required truthful error disclosure and who did so. There are cases

24
Case 3:12-cv-01019 Document 7 Filed 10/16/12 Page 24 of 55 Page|D #: 70

 

where insurers have successfully denied coverage for an insured's violation of the
cooperation clause, but these cases exhibit fact situations that bear no resemblance to an
insured health professional's promptly admitting fault to a patient who has been harmed
from error. While health professionals might still choose to conceal error information
from patients or an insurer might trv to denv covergg§ to the health professional who
admits liability, an historical review of legal precedents does not support the belief that
coverage revocation is a likely response from an insurer to a health professional's
disclosing harm-causing error.

Ethical reflections on the cooperation clause Preserving “sound morality” and the
public interest

Insurance policies of any kind_e.g., life, health, casualty, liability, title~
cannot anticipate that their contractual stipulations will be enforceable if those
stipulations violate existing statute or public policy, or if the insured's enacting those
stipulations smacks of some “grohibited activity. In 1898, the U.S. Supreme Court
ruled that any insurance policy, “the tendency of which is to endanger the public interests
or injuriously affect the public good, or which is subversive of sound morality, ought
never to receive the sanction of a court of justice or be made the foundation of its
judgment.”19 Therefore, if a medical malpractice insurer denies coverage to a
physician on the grounds that the doctor violated the cooperation clause by
informing a patient of a harm-causing error, the physician is likely to have a strong
argument in court that he or she had a moral obligation under section 8. 12 of the Code of
Ethics. Put otherwise, the insurer that seeks to deny coverage by alleging a cooperation
clause violation should be prepared to argue to the court why a physician concealing an
error is not “subversive of sound morality”_because medical ethics is categorical on
the physician's moral obligation to disclose error to a patient who has been harmed
by it4 Furthermore, as health care professionals increasingly understand “patient-
centered care” as synonymous with “ethically sensitive care,” it is important to note that
patient survey respondents overwhelmingly say they would want to be informed of error
if they were harmed from it.20 As such, formal ethical obligations coalesce with patient
expectations in the honest disclosure of medical error. Indeed, perhaps because
considerations bearing on “sound morality” so strongly encourage error disclosure, no
insurer appears to have successfully invoked the cooperation clause as grounds for
denying coverage when the only issue was the health professional's truthful error
disclosure to a harmed party Ford et al learned how concealing error information
from harmed the Plaintiff be tantamount to fraud. Liability insurance particularly
requires that the occurrence for which the insured is claiming coverage be an accident
and not intended by the insured Ford did not report any incident to his insurance carrier,
and this is how Ford has been getting away of having a clean medical records with no
complaints, based on information and belief; they are destroying these complaint in order
to have a good record. `

Dr. Ford leaves a nasal packing in me and then lied about this is gross negligent
The packing was sewn in my left nasal and I have the stitch to prove this. And aher the
operation he neglects to x-ray the surgical site to determine that all surgical artifacts
have been removed are gross negligent I begins running a high temperature, and an x-

25
Case 3:12-cv-01019 Document 7 Filed 10/16/12 Page 25 of 55 Page|D #: 71

 

ray taken months later clearly would not shows the surgical instrument Dr. Ford did
not inform me of his need for of any additional surgery, And because of his fear that,
admission of the error would count as a violation of the cooperation clause. Indeed,
Dr. Ford’S failure to inform fraud.

Doctor Ford performs a Close Setoplasty after I gave Ford my informed consent
for this procedure he perform an Open Setoplasty or some type of Open Setoplasty by
means of a Rhinoplasty in which I did not know and he chose to remove a maxillary crest
spur without my consist This is truly a lack my informed consent violation. It was not
necessary for Ford clearly remove my maxillary crest spur and opens me up for a
close procedure Again my septum was not severely damage it was only 3mm deviated
Ford needed to get a separate informed consent for removing my nasal tip cartilage
and my maxillary crest bone spur.

INFORM CONSENT

Canterbury v. Spence1 464 F.Zd 7727 1972

In this well-known case, the Court argued for a reasonable patient standard of informed
consent In doing so, the Court presented arguments against a physician-oriented
standard The case involves a boy who suffered paralysis after back surgery l-le claimed
that he was not adequately warned about such risks

Cobbs v, Grant, 8 Cal, 3d 229, 1972

The patient alleged that the surgeon violated his duty to obtain informed consent to
surgery by failing to inform the patient of its inherent risks7 many of which materialized
The Court concluded that the informational needs of the patient are paramount in
obtaining informed consent

Lack of Consent and Batterv Claims

J`oh.nson. v. Kokemoor, 545 `N.W.Zd 495, 1996

The central issue was Whether performance data should be disclosed. A claim was
made that the physician overstated his competence The expected risk from a surgeon
who lacked experience was much greater than the morbidity and mortality risk
from the best surgeons. A reasonable person in the plaintiffs position would want to
know that their chances of death or injury would be higher given the surgeon's
experience l-lowever, the Court clearly cautioned that the finding, that the risk should
have been disclosed, applies to "the circumstances of this case."

Blanchard v. Kellurn, 975 S.W.2d 522,'1998

A woman had all 32 of her teeth extracted during a dental visit. She claimed that she
never authorized that all of her teeth would be extracted in a single visit The extractions
caused her to be hospitalized The issue at stake is whether this case should be handled as
negligence or as battery. The Court observed: "We believe that there is a distinction
between: (1) cases in which a doctor performs an unauthorized procedure', and (2) cases
in which the procedure is authorized but the patient claims that the doctor failed to inform
the patient of any or all the risks inherent in the procedure." Furthermore, "The primary

26
Case 3:12-cv-01019 Document 7 Filed 10/16/12 Page 26 of 55 Page|D #: 72

consideration in a medical battery case is simply whether the patient knew of and
authorized a procedure This determination does not require the testimony of an expert
Witness."

Perna v. Pirozzi_, 457 A.2d 431, 1983

The Court stated the problem at hand: "We must determine whether that substitution [of
one surgeon for another], even when the two surgeons are engaged in a group practice7
constitutes malpractice a battery or both." Citing the Judicial Council of the American
Medical Association, the Court concluded that in this case switching surgeons amounted
to deceit, and therefore the lack of informed consent should be treated as battery.

Shine v. Vagas, 429 Mass. 456, 1999

The Supreme Court of Massachusetts clearly rejects the notion that in emergency
situations competent persons may be treated despite their refusal of treatment The Court
considered the emergency conditions under which consent is not required based on the
doctrine of presumed consent; "If, and only if, the patient is unconscious or otherwise
incapable of giving consent, and either time or circumstances do not permit the
physician to obtain the consent of a family member, may the physician presume that
the patient, if competent, Would consent to life-saving medical treatment."

Wells v. Van Nort, 100 Ohio St. 101, 1919

A woman consented to surgery to remove her appendix, but during the surgery her
fallopian tubes were removed because they were found to be diseased The Court held
that the woman did not consent to have her fallopian tubes removed and that this was
not an emergency situation.

l\/.loore v. PMMG, 178 Cal. App, 3d 728, 1986

The plaintiff was examined by one of the defendant's company physicians During the
examination the physician observed a mole on the patient's ear. The physician indicated
to the patient that he should see a specialist at once, since all moles are suspicious The
patient did not see a specialist Subsequently, a biopsy disclosed that the mole was
malignant melanoma. Moore suffered distortion of neck and facial features

BACK GROUND HISTORY

l`}ecember 2}_, 2009 my li'itst visit consult with Siee_p {Ieriter of jlv_i`iddie '}f'enncssee
(hercinati:er St`_fh'il”lj`) in which they are owe by l--~i'(fir~\/ which is now call 'l"Rl`S"`fAR the
reason ft wei/it there to control my libron'iyalgia, sno'ring., and poor sleep,, while l sleep
lf)oct<'_)r C`.Tarden did not believe that l_ had sleep apnea l believe this was due to the way l
look so ran this test to rule this out but come to iind out the test ct.)ittii‘tn that l have
(§)bstructive Sleep Apnea t hereinafter (f)SA_}

l)ecemi)er 29, 2009 i""oliow up visit with S(l`_`ivl"i" to go over sleep study review that l had
(1`)§5.»4\

.!*"ehruary t i, 2010 follow up visit S(l‘.l\¢i’l" used on CPAP tiiachine.

li"ebruary fish 201 0 vi`*`o`llow up visit S(lflvil`"`i" (,.`ii)/\P foil<')w up (`.Tz.-trden stated that l am using

27
Case 3:12-cv-01019 Document 7 Filed 10/16/12 Page 27 of 55 Page|D #: 73

~,l

the i\/i edicare requirement of the usage ofthe CPAP machine she wrote snore on nasal
_PAP was resolved but to date still have snoriug.

Juiy 03, ltiji.i) A Maxiltofacial (_ff"lj" without intravenc_)us coi;itrast was conducted at
Southern l~i`il.ls l-~iospital. it is undisputed that Ford did not inform or Medicare that he
was retrieving a maxiiiary crest spur l`~`"r_)td had a duty to inform inc ot`ali procedure
prior to si.:u;`gery i~`"`o'l'd breach this duty when he negligentl_\,»' lack to inform me ofthis
procedure and it is undisputed that this was not noted in `l"i`otd finding prior and during
the operation lt is undisputed that i~`" ord rein<_)ves and crushes roy nasal tip cartilage and
this was not in Ford finding beiote and during the surgery and Ford did all this withr_)ut
my consent and this consist with assault and batl:er_v.

N<'.)w, it is undisputed that the radiologist technician/doctor noted that l had nasal
swelling and a 3nim ieftward nasal septal deviation but there was nothing writing
about the turbinated sweliing or a maxillary spur crest was damage But there were
srnail p<')lypsicyst in a'pj;)earance but li`ord did operate on the said polypsicyst_, no acute
sinus t`rat:ti.n"es d.ei'nonstrated No underline nasal bone ’l"racture intact nasal process of the
ina.xilla, '

`i\low, it undispi,rted that there was no 'lnei'itii;)n in Ford triedica.l finding or during rny
surgery that he needed to remove the spur and the nasal cartilnge. Based on
information and belief; this oversight ot`Southern iiile radiologist dector/technician
iead to the crushing and removal of my nia:xiiiary crest spur. vi\ir_)w this agent for
Southern ii ills had a duty and that to read and dictate what he ac'l'uail__v saw on the ii;nages
report 'l"his agents/servant/en'iployee breaches his other duty when lie/she misread the
images and their negiigent lead to Ford retrieving my maxillary crest spur. "1"h.is was the
'lirst incident of the radiologist dictation missing critical information of toy scans
And Ford had a duty remove or inform nie o t` such polypsicyst and then send a tissue
sample to path<')logy_ i*`ord breaches his duty when he lack send tissue san:iple to see what
they were

duly ji_$, 2010 foliow up visit with lohn jl§enneth lvlori ivi`i`.`) at S(`_.`,`ivi'l" where Ca.rden was
wr,)rking. (§fa.rden stated that l been more faithful with the PAP use in the last 2 weeks l
was having dil"ii eulty exha¥ing against jP/-\i° she stated that l told her it was due to
allergy there was an orai pressi.ire leak using ,l‘A.P occasionally l told her that l ain having
troi.;ible using the machine due to rny congestion issues l began try using a nasal spray

duly l.$, 201 0 lloth stated in his dictatic_)n that he consider for inc to have a reducti<.)n of
turl")inate improvement of nasai airway Again, l~`¢`ord i'nn_n“ession iin<;i.ing did not
mention a niaxiilary crest spur. '_l"he reason wl‘iy"'? ls because ford t`aiis to order any 'x~
ray or scans and Ford did not request any old h'l.l.`{.lf or (FI"l" scan on inv nasal l"¥`ord had a
duty to get those images so that he would not go into my surgery bi_indsided but f ord
breach hid duty when he just did not want to get those images And his negligent lead to
my injury And we know now is that atl Pll\`l'if"s doctors are supposed to get or order
some type X-ray or (_:f"i.` scan before surgery Ford did not do this at all he fails to
make such request Ford never informs rne that turbinate well and shrinij daily one or
more times a day Plaintiff argues that on the day of my exam my turl.")inate could have
been swollen but it could have gone down after `l~""ord visit And this is wl'iat turbina't'e'"'s is

28
Case 3:12-cV-01019, Document 7 Filed 10/16/12 Page 28 of 55 Page|D #: 74

 

supposed to dot `ll`ord was going to cut outside my nose l-`" ord did external incision to a
Rhinoplasty approaches to perform this surgery l'r`ord not only mislead
i.\»fledicare/l\'ledicaid because :l"or not inl"<i)'rinin;.g them that he was doing external incision ot`
my nose because the reason li ord did is because he knew they would not have paid l`or
this procedure because this would be more ol"a Rhinoplasty surgery with Setoplasty
work done (".`)r the surgery technique l~`~`~‘ord sure was to allow him to enter other parts o'l"
my nose and septum so he could do work in that area too And i`-`l`ord did not put his start
time when he work on the septum and ended time And when he began to do work on
the nasal tip time start and end time and the start time end time ot` his reduction ol`the
turbinate"s and etc , _ ,l.iastly there was no start and end time t`or retrieving the
maxillary crest spur. ii ord done multiple procedures on me this day l t.)nl`_vr knew <.>'l`two
things vli`<'_)rd was supp<')sed to do in which l was unaware ot`_ 'jl"'his is a dit`t`erent procedure
and they should have had dil’t`erent (`_`IP"I` code but they did not And this action that lead
to assault and battery the incision underneath inv nose this process lett a permanent
scare for the rest of rnv lite ii ord had a lack to in l"orm me and he breach his duty as my
physician to not in.'l"orm me on what he was going to do to my body

ilv'l'iat l do l<n<'.)w is that there is more than one scaring, there is one outside my
nose and one in side is hunt that is about `lor l ‘/s in size lt is undisputed that if a
patient nose has seating from a surgical technique it means :'zo_rnethin§g,t worn wrong
because it did not heal cr_)rrectly_ 'l\lo'w there was nr,)thin;gr in the state that this surgery can
lead to not incision in a patient nose alter a surgery l truly believe that this l<_not may
have conte i`roin ii ord yanl<ing out the nasal packing t`or so hingeF that sr_)rne ot` the tissi.ie
was growing up top ot` the packing splint_ (`.}r this came 'l'i'otn the way ii ord cut my
maxillary crest spur `l:'%lither way both incident was done c<'.nnplete wrongj ii`ord fail to
dictate that he cost the patient to have scaring on the outside and inside the patient
left riost.ril. fli`ord was slandcring my name by stating in my medical record that l
was like a lenity that is taken too much nerve medication lint this medication would
not rnalse anyone depending on the medication because it not an addicted
medication l~`¢`ord has a medical duty to insert what he saw in my nose before and alter
st.ii'i;ei‘y'.

Nr_)\'-v the purpose o'i""li`<')r<.i exploring my nose is because he wanted to pert`orm
some type oi"open / basic functional Ri'rinoplasty si.iri_i_;erj,# to ti)< my deviated septum
and it was just unnecessary And all general lilN"l.`s` knew this statement to be true
l-`-`? ord did not inlii)rm billedieare/Medicaid with the incision underneath my nose to do a
_li”tinctional Rhinoplasty to improvement my nasal airway .l:`;lased on int`orn'iation and
'beliei", none oi’ my post office visit was charge li"t.nn October ll’7, Zd'llt October 20,

261 l and Septe_ml)er 01., Ztlljl to l-`~`o'rd. Ford inserted a device in mine nose that cause me
to bleed afterward because he was going so deep in my nose to remove the surgical nasal
packing that was sewn in rny lett nasal lt was so deep l have grab Ford leg due to the
discomfort What l did not know was why he was trying to cover this incident up fly
l-`i`ord doing this cause a chain ol" events in which l told the other doctors l saw and they
did not believe what l was saying to them They all tl'iou§ght l was mailing this up too l
felt predi§§ested for several reasons and one being l'.)ecause this was their t:r_)lleti.§ttie and
they were very very protective ot` Ford and this should not have happen So let the record
si"iot»v that the plainti:l`:l" is planning to film the reconstructive my s't.ir'gc:i'y' so that this

29
Case 3:12-cv-01019 Document 7 Filed 10/16/12 Page 29 of 55 Page|D #: 75

 

conn end the other plivs'ieiens" whc,) vests tiiiewt-n‘e ot`this technique can tindetstetnd the
}:)tti)cedti_te l`i`ot‘d did to me "l"he surgery would he ttl:)le to tell this eotii't and the rest titus
Wl'tat he done to me and why define it was not dictated on my nie<:l.ieitl transcription report
i*t"`l~`*`<;)rd did use e t')e.s;»d packing like l say he did ll ives not lying about the incident But
l~`¥`<'_)td et el ives determining to make o tool out ot`:tt)e by rewrite my medical records l\/iy
records that had ditl`erent front size Wrong location ete. And it took twelve ( lf?.l months
ibt lj)octo.t Vihson ifl'o.tn Vande.ti?)ilt to believe what l Was saying after she reed the
surgery report thin the performance ths one she did not :t'ee<'_)§;hize,

Ii"ede;~si t;ties‘tion liow int does a patient have to go to prove thin What she ives
saving all alone about tit doctor is really ttiie‘:’ if.`,)oes lie/she l'inve to go ottdet'e<`)vet to
cti)ntmit 21 <:titne itt oi'det' to show l:i<'.)\v one oil"titeit' t:o`lleet;oes end actually lie to Medicare
end me in t)t‘det to pi’<.)teet their license i~--`lo\v i:`ztt‘ \vill at doetoi' end their stat"t`go end i_;t` the
patient did not have the proof these doctors could have got away <'.)_t" rnedieal itielptztetice,
instead these doctors slander my nettie `i"o,t‘ rio tension and pitt irtsei'ted in m_v medical
records to make me look like the bed guy lsn’t this illegal t<_)<)"?

Now, it`t`iie patient did not have the evidence oi"the lie "l."hese doctor behavior
shows how innocent t_)z»t'tients" die being caught tip in niedietti melote.etiee cover tip end itt
instead eli the patient edvt_)et-tte being open minded oh what the patient said at time ns
being the t:i'u.th they rather cell the patient at tier end abandon them out ot`the clinic end is
this teteiie.tion. Sendin§§ patient to the mentel hospital t`<:)r no t*-ztt.st'_)ti et all is sav With<:)ttt
my evidence its shows me how doet<_)t end nurse will protect their brother kenneth
`lj)t_)etois like these make it their *`l\iti)tttt” to cover tip evidence end commit conspiracy end
t"ttntd, just to j;n"otet:»t their medical license

St)_z what do we do‘? .]nst because We tire poor de not give doctors end nurses
the tight to cover up medical malpractice `l’)eettt.tse he is someone l:`t“iend ot they just did
not winn to get involve<;l, "l"hese d<'.)otots continue to eovet" tip ltv inserting itit'i_)tmo'ti’i<'__)n itt
inv tttedieel tee-eid a,:li‘.et' it hats been eleett<')t)lettllv tile So again what do we de? dust
imagine the horror i had'to endure While extre.nie§y sick trying to protect my
dignity

 

li`ord. elttittts he removes dehrideinent front my nose l;)ttsed ott int`ormeti<_)n end
heliet", l\»:t'edieete vvo'nid not pay i-`*`oi‘d ti'.)r leaving o foreign obtth in a })otielit'. l`*`<'_)i'd
removes the nasal poei<itng on Sep'tetttl?)et' Ol, ZC)l l their morning but he lied to lvlediettt'e
end stated in inv tecoibd lie t'etnove del_)tide~mertt item inv nose il Witness Ford removing
this object out of" my nose ittvselt`.

Fedei‘ai question it`tt doettn' i‘eittoves your nature c:n:i‘tile§_§e and crush them eli in
l:`i_ne pieces and inserted the ci'nsh eitttilege back itt tt patient is this consider a foreign
objeet because the curtilage is not at its nature piece doing What is was supposed to
do. And since you cannot see the enrtilage in any ixxtages how do n patient know tile
curtilage is cause a patient pain il"you cannot see this said object in its new location
to see if it’s doing what it supposed to do. Yoti cnn"t see the infection from any
i.tnages. Shonid a patient be nware if their est‘tilage going to be remove end erush
and reese for whatever purpose And bei`oi‘e any tissue goes in or out of any patient
should the said object i)e sent to the pathology lab for test before is'isertin;_»; the object

30
Case 3:12-cv-01019 Document 7 Filed 10/16/12 Page 30 of 55 Page|D #: 76

 

inside a patient be<ly?

 

l~`it)td kitews tt is against the law to ehar§g; Medicare :l:`t_)r a n;tedic:al mistake that
<;)e<;hts during a patient et)erati<)h. l-`*`t)td el"t"iee visit then east Slll$.l)tl each time l visit his
<;)t`tiee that years l called h»»'l.edieare and they interim that l`~`"t_)rd did net sal;)rtii't a claim "`l"he
daly claim herd gt_)t: paid l`<)r Was a hlet.)d rader tim (`_)eteber 12th 2{311.

W hat i de knew is that the ()t)eii Sett)t)§astv h\' means el`a Rhixiei)iastv \~'ttttld
require herd leaving a nasai packing itt t`t_)t a few days tie control the nasal l')leed.itlg.
'jl"`he prt_)hlettt is that `l~`"`et'd. did hot twentieth that he left a nasal packing dr a graft/stem itt
me But the pr<.)eedt.tre€teehttiqae l-`*`t_)rd did requires it_ li‘t)td cannot use only my crash
carthage 'l"er nasal tit) support ii"t)_td should have lt,tit)wrt that he needed te use a solid
object other than my <'.)wn. carthage lt`et support But herd Was never supposed to do
nasal wt)rk farm the get got "l"his ted is a separate vtatet:edare

Nt_)W., under our system t)'l" jiistice systetti the C»etxsettt t<i) treat: l.h t914, Sapt‘en'te
{`§ 0 tt rt .l a st l ce iii e nj a m t rt {`..`z~trd<)zie wtt_ite;

"l`;`:`£very human being eli adult yeats and sound titled has a right tt.) determine what shail he
det/te W§tl:z his t)'W.tt l)t_)d_v; and a st:h‘§;eeh Whe peri"<)trtts ah <.)t)et`ati<i)h tsti'tlit_)i.tt his patient's
et)ttseht cettititits att assault l"t)t which he is liable itt dattta§ges. "l`h_is is true except itt cases
et` emergency . , "

r\ttt)tliet' tl`ustit‘e (jfarddat)'s Wrete that strongly worded decision gave patients
real hist sti¥i limited pewei‘. Althet;igh doctors at the time Were required te set
permission ;f'i“t_)m vt)z~tt:ients te peri"etht surgery they Were net required te explain the
potential risks l`)eeades later the et.)titts have declared that patients have a right net only
tti) say "yes" er "tie" hat give it\eailiiig'l`td et.)rlsetttq which eaa he given daly alter all et`
the peterttial risks and hettelits t)'lf`a t)tt)eedtite ate explained te them

But in my case herd did net inform me that et` a partial "l"t.trhirtedtt)mey could lead
to the deveh)pmettt syittptt).ttts et`a:l:rt)phie rlii.nit'is. 'i`hey called this condition "empty
nose syndi‘t)me" and te depict l:te\.>t tmttat:ttral these raises looked itt C'l" findings and apart
physical e><attti:ttati<)h. l have et't.tphastaed. hew negatively this condition had attested the
quality t)t`itiy iii`e and sense t)fweill)ein§_._>; and my hose has W<)tsert ever the yeah this
surgery has cause damage and wear and test due te the ioss t)i’ my turbinate
protectit)nt as there was ne e't:l:ter cause that e<i)ald e)<_t)lah't this "l."l\ere is the controversy
with reiiit)viag tui*biitate’s_ And l did net want te he part e`l"this debate

The whole geai is td for me to be ahie to breath hettet‘ at night and when
herd just widen my nose to open up my airway Was net gt;)ht§; tie ti>< this prehleitt. vi"i`t`.)rd
fails tt_) tied the t.trtderline Cat.tse tie my breathing }i)tt;)l:)lettts, herd c:rttsl;t my eat'tilag,e and
the pr<.)hletti with this is that When he crash my nasal eartila§§,e and harte he left he sttpt)t.)rt
there l d<m`t believe he use a st_i~ut er graft hat ii`:t`eel like s<)rttethhtg is theirs `l~it;)~td
problem ased old ct'ttsh. cattila§;e to build the septattt and nasal tip support l~""c)td did net
weigh his t);_ttlen. 'l"he reasen l thh~tl<' `l"i"erd did net use a grail"t is l;)eeal.tse he de rtt.)t have
the level ei` expertise and training tie proscribe the right graft t:t) used l think that herd
does net have experience with synthetic gi‘ai`ts and this can limits his pi‘actice, lj)eet:t.)r

31
Case 3:12-cv-01019 Document 7 Filed 10/16/12 Page 31 of 55 Page|D #: 77

 

 

i~`"otci <.iete'i‘in;ines the type ot` procedure shoi_il_d hsve been the most eppto;)tie.te t`o:i' me not
i`or hint

N`o\sz the unethioai end moral l)e`hti,t/i<.)t l have witness f'i"on'i these tioetotstnt.itse
such as Sangeetha total me that `i`i`ot<i was going to cover up the int:ittent. That he left
the 'tiztse..l packing in nie, Senge"ths told the to just let it go i;`?»tit the etol;)iein is that she
has s i)etsonel interest iii this ease too heeei..ise l.`)oetot i*“otti is her son’s ttootot_ l told her
this is 21 eontl.iet o'i"intetest end she said no it Wesn"'t, And this is Why i‘iet*ituig;tnent sen he
'hias. 1 brought 211 ti"ienti. itt my lest visit so she too can see theii' l;)ehevioi' herself

 

Based on in'§otmetiou end belie£ 1 think eli these doctor have Stote
Volunteer ivli:t:unt insurance Coin iam end this Wes another teesoi:t l:`ot :t`intiin§._§
outside <i.ootots. What l <;ii<:i. not know is why these doctors here wouch not perform this
type oil"()peo Setoplasty su:tgei'y, it i`elt li`lte _i. wes pulling teeth 't`ot them to give me h
reason es to" Why" they Woulci not oei'ti;)t'm this st:u's;ei'_\_/ this wey, None ol" them gave
me nn answer to me question l. need to i<'no\'\/' and 1 have every tight to know especially
i't`they got heed t`ot ute to get the answer l weis seetehin;.g; 't`ot. "i"hey oct hite it wes ii secret

   

_ /-\§.';ttin., they wouiti vethztiiy tell me things end woufd not put this information
on my moot ink record it is undisputed that everything that is dismissed in a <ii<:)ctoi"s
oi"t`iee visit is not being tioei;nnenteti. 'flf"hete have been tioet<_)ts that cio selective iisten end
i~"`ot<i is one ;t`ot thetn, What liotd ciici not mention inform me shout this surgery that the
surgery may cause adjusts with the way my nature W;mu. inoistened and iiitered
W:>ty of breath out oi` my nasal and i~`*‘<i)tti know it weis o possibility hut 'i"<ii.il to inti".)ttn me
ot` this risk e.nti he <Zlitl not insert this in nij,.~" medical teeotci, "i"his surgery hss damage the
natural production end siightly change the right side ot` my eooee:ttinee.

  

This complaint demonstrates how \»\"icielw i\"'1 stit‘g.teoi'i“s opinions and approaches
Wu’jy; sometimes even contradicting each othet'. I:S'u:t in my ease it should not if have been
eon.sistent on tht ij told e;ieh ot`them_ "ifihis is What happens to mev l;`orci choice to do s
dotsoi stigment,z-ttion alone With the other multiple votooe<h;ites end diete my eertiiatge end
soft tissue v\s/it:h<_)t.it my e<')nsent, What Ford did was trying to contradict what he Was
doing in the operation room and hoping for a better :-ttternutive to correct my
septum l`i`otd uses toy oi'u.shed oettile§e t`oi" my nasal tie end did not zreset"ve nw
enx‘tiluge tot testing dining ot t`ot future surgery

   

lt is undisputed that Ford did oot preserve end sot`t tissue sample end he did
not send any ofiny tissue to a pathology iut) end now i_ they need some ot` my _i;)tesetve
eett.iie§,§e_

it is p<_)ssihie that Ford eould have done 4th nose surgery in n year or two but
u high number does not mean he is better than someone Who done tess sutgery in a
year hotel worry shout how much nose surgery he does instead ot`ti.o;iog longer
otoeetit:ites oh the nose he is beingl ooneerneti With the c;’iiientity inst tied o'i"th,e quality ot`
his wotl;. `I\fit)_i~seliztx’tit)ti is the crushing o'l""the tie't"orm ed se ‘)tai segment so that it can
l'ieoi in it straightened position But the problem is that my nose wes not deformed
Anti l have the X~tey as evidence ot`this too "l"he disadvantage of this procedure is
when you mo_i"seiizatiou j`et‘ushi the oattiia§;;e and bone it would make the nose weak

   

 

32
Case 3:12-cv-01019 Document 7 Filed 10/16/12 Page 32 of 55 Page|D #: 78

 

ci`i"eet upon the carthage and the im retiictai_iilit\-' oi` the restiit, "l"he es_trernt-é ;;)tobletn
with this tecin‘iir_}ue is that you cannot see any o'lithe crush carthage on a MR.`L (1`..7"1` scant
and `X.~i'a.y. it is undisputed that my si,irgery may have lasted for osi " t\.venty~six.

minutes (Zo),

   

J`uiy 19, 261 ii i` went to i\/iiddle 'i"ennessee _i:`iar ’\osc & 'i"hroat they are own by the same
company 't~~l(j_i-\. "fi,`he only di:t`it`erent il:iey did when they got sued years ago. they change to
"if"i{i$'i`,»\_i§. Based on information and i)eiiei`, they {r`i"`R.iiS"i".-z¥R,iSi-/ `l*'t(`_IA) are back in
business doing tide same thing years ago ri"lie oniy di'i"'f"ei'ent is they are making up
'i"or old titne.

What i do knot-v is alter researching about i.t:irhinated r'eda<:tions is that
"i`nrhinedtomey later i"eli out oit`t`av<;>r because ot` rising concern over complication such
as rhinit§s sit:ca, atrophie rhinitis, and tazenam_ ’~\nd Ford did not tail me tixis. l-le
knew after the surgery l my nasal stayed dry, l Went out and brought a nasal spray and
Sangeetha gave me some. But I Was over using this product NoW my enlarged nasal
cavity resulted from the surgery from turbinate resection and too much elevation This
cause to much increase nasal airtlow and reduce the humidifying capabilities of the nasal
mucosa, resulting in drying, crusting7 and mucosal atrophy, l-loWever7 the removal of
turbinate surgery remains controversial and again l should have been told. l have a
choice and a voice. l do not Want to be a statistic.

i\"e>;\'t i had a f cm lymph nodewpai'pated below my right stii<)mandibuiar taii oi`
my parotid §’iand no external or internal na.sai tractors i Was diagnosed with deviated
ria/sai septum hat it did not state how much my septum Was deviated unilaterai
turbinate hyt)ertrophy, and i had liyners<`)rnnia with steep apnea nasal congestion
parotid mass of uncertain behavior 235 (Prin‘iary) i)ot:tor johnston also Written
with his dictation that t need to monitor t`or changes with eatingv l had a test done
A,;_irii `It}, 2008 at ('f,‘entenniai h'ledittal (`.fenter it show back then that l had a wright
`i’er auricnlar mass.

 

l am so upset because 'i had to do this research While sick atl by rnyseit`and
with no heip whiie being siek.. i_ 'l`ei't' that my i"(`§ji" shoiiid have had this in theit office But

w

they did n,o't., 'l his was truly hard and 'i"rustratina you can”t in:tage the pain it i.s`j_i_ t

 

»s to just ignore the symptoms l was telling them a.`b<_)ut is
unnr<i)i`essiona.l and this is truly i’)ey<')nd~gross negiigent.

 
 

i_`)ti)etor l_`)aniei P, ir_)l'in.ston 'E?/»\ stated that he will obtain my ree<'_)rds horn
{`.`entenniat i-~~iospital the (i"`l" ome neck but this too Was never done 'i`itey have a
medical appiieation with when and where to print out patient i:\'fc)i‘ii\titi<`)xi. i~`*`orr.i and
i\'iurti‘eesboro jh/_iedical Clinic do not have this appiieation like \t"anderhiit

`EIX,A i\"i_i’l../i`f'§ ()ii` i\-’i lil.i.)i(_:Ai.i ('.:fi“i AR'"!" iili\i"i`il\’
httl:)://l0.104.8.6:8080/m0biledoc/isD/catalog/xml/printChartOptions.|'sp?encouterID

=269,.. 4/25/20'!2 "t`he above entry is an examine of Vanderbiit entries et`a patient
chart

33
Case 3:12-cv-01019 Document 7 Filed 10/16/12 Page 33 of 55 Page|D #: 79

 

jl`)oetor Ford and 1\/.! M(_`I records should have this type et` patient programs to
keep up 111/it h the records entities and Wht) going in and otit oit"`a patient chart Based on
information and belief this is how Ford et al were g._ie»ttirtg;a away with tamperi1115j altering
rewriting ad din<> delet ting patients medical record withet..n netting caught

Augiist 24, 2010 hilld€lle 'jl`ennessee images ct <;1t`neel<' with eoi'ttrast indication and
iintlitt;i_§: island is symmetrical in sizeand1‘t<i)i‘111;»`1l in atmearanee, rl\len§_._§ the superficial
aspect of the Right parotid gland there is r1 needle measuring apprnximately 7114
mut An additional small 1'1<_1d1..1le/lyrnnl1 node noted at anterior sunerier aspect ot" the ri_§_,_§ht
parotid gland measuring aptno\tmatt,ls 7 x :1 hint similar at)g)etttne piohal:tl e lvtnph
modes noted adjacent to the l.._,eti pat:t)t:id gfnnd. No infra r)a_¢et:ii.l mass evident. the
swelling my thvreid eiland Was normal at this time l am thirty seven years nl` age
and still w ts net diagnose with Thyroid But l did have some muceperiesteal
thic_l<:entita/small tnt.tcti.s xetention cvsts bilateral maxillaiv sinnses. ~\t this time there
were settle signs et the lymph trades prohlenri. "`Ihe piohiem is that theme of`it t\vetit away
it just keep streams and spread l‘)ilateiai tl"itonsthent my neel< and thioat.

On Jlily 15, 2011 I done my pre op blood Work for my surgery for August 10, 2011, the
test show that I was anemic but no one from Ford office called, Wrote a letter to inform
me on this illness and inform me how to take care of this problem At this time Ford did
not run any Thyroid test in 2011 at alll But on my last visit with him on May 24, 2012 he
stated that he gave me medication for this illness but he never informs me of this matter l
told him this in back in May.

Attgnst .l, Zt`}ll Went te h’ijt;trli'eeshoro l\i’_ijedical (`_`Terrter Surt§i (`.`entet' si_Oned in and1 gave
i'iil’t):i'irtiitic.)n te nurse get address and vital signs for before sin <11,1 v l he sur 110 y not reset
l"et' rises-gust l 0,, Et)`ll because l at ate a l inch ot"ntn,tlli_n.

Angnst i{l, Ztil_ `i_ vlnt`errned consent code 30$20 repair oli` the nasal septum excise of
interior turbinate 3(}.13(} somehow Work ‘\vas done on inv anterior and posterior was
deflected a.ndt esetted tartila<11.1 v\as crash teo l tva s hill lt l`oi a 30140 for a

l t.1il_11ned,omcjy in which l 111/as not aware et this l_`he t:toise notes and comments do not
state that l~"`<'_)rd tised atty grading or stem device in my nasal tip l§3'11t he suppose trio with
this <'_11.1erz-1ticn. l believe that `l-"~`<'.)rd use a graft because it Was cansin;»' my infection and the
stvejlli:n<_'1 ot`tnv nose te keep gettine, effect tltnd l had tn c;arrvt this forum <1;.1)t tjecti ii 1 me t 111
mere than l"etttteen ti4) months l\ftjj,- time itt orteratit tr<)<)m Was 071€}: stlt'§ gets l)e§t 111 at
ltl; ill and it Was finish at l(l: ill lhe nurse ttt)ted in hei cortttnents hat l \1'astimeent

11 as 271{§: and rnit tial it too l\/lt surver Was less than thirty minutes lone She l<aten
l;3ttt;l et (1etetnaltet l311tle1) Wtote int the l "/11 lido€ainr with total 4 tnl cocaine
hydiot:hlnride and §“/<1 ot topieal_t o et_)ttort modes triple antibiotic ointment: Which Was a
total ot`$ nil herd wrote soniethin<‘1j di t§`t`ere_nt he dictated thatl te have me l"/'<i lidoeaine
\vithS ml el eecnine ltvdto<.hloiide Which1 gave a total ot 6 ml l list it \ as a miscottnt
sorrtewherel front either the nurse or the d11c1.11. l‘nrd removes et cut my tinrhinate. ll
Ford would have field me he was planning to eut my turbinate l would net have
gotten this done "l"his has effect the way l breathe even though my nose is nice and
wide inv l_11"1;1,1-'11t.l_1irig7 is net the same this is why l ain still 1111 the sleep path machine still
teda_v lite sin net _v wis st.tpt)osed to correct tire way oxygen enter my body at night

 

34
Case 3:12-cv-01019 Document 7 Filed 10/16/12 Page 34 of 55 Page|D #: 80

 

"_i`he problem is that i)oet.or Ford never told i\'ledicare/ h/_ledic€~iid and l that he was
peri`r_)rming an ()peri Rhinoplasty approach for a Setopiasty. l'l"he did they w<'_)uld not
have paid for this r_)peration_ They woi..ilrl have called it ineidenta_l/ experimental midst
not medicai necessary §-`*`ord had removed my maxillary crest spur (lf)one), Ford did not
state this in his finding on my operation report or did he toid me that I had a bone
spur and morselize (crush) them i. Was never told that he was going to remove cartilage
and bone :fro_i_n my nasal tip and he did not put them in his dictation report during and
after surgery l`)oct<..)r c<'.)ntinnes to leave out detail informati<.)n about my operation Ford
heha'vi<.)r prolongs my illness ii"or over a year becai.ise he Was not in detail on the operati<;)n
report instead drafting a detail comprehensive medical operational transcopriori. ii`ord did
a small S(f)/-"\i`* in‘ipression o'l'“my proce<.lure.

My full consented brings respect, and good treatment plans, but, hiding
information from a patient is just unjust and wrong The reason I believe Ford done an
open Rhinoplasty because with an external incision was made underneath my nasal
and none of the doctors I saw any of them wanted to inform me of this. I did not
understand why Ford done this technique for a Setoplasty surgery based on
information and belief, there should not be any incision underneath my nasal period
for the operation I had done. And there should not have been any work done on my
nasal tip at all this is a total a different procedure If Ford never open me up from the
get go I would not be having this problem without informing me of what all he was going
to do. What we now know for sure is that we do not know what all Ford did until I they
reopen me up and l film the operation

Ford did the external approach which allows the infrastructure of the nose to be
completely exposed and accessed. l-lowever, I did not agree to this, What I do know
Ford done this technique to allow him to be more precise surgery and is generally
preferred when performing tip Work. What l know after researching Ford made the
incision in Which he felt was a small sacrifice for me (the patient) but I did not want a
scare on my face period

Novv7 l called both medical boards about Fords medical license in Arizonian and
Illinois to check to see if Ford a license Board Certified Rhinoplasty Facial Plastic
surgeon or Rhinologist he is not, I then check to see if he has a double board certified
facial plastic surgeons certificated he does not. Ford may have the passion and artistry
to do Rhinoplasty but the problem is he does not have a sub specialist or techniques
innovations in plastic surgery or facial plastic surgery, or Plastic and Reconstructive
Surgery. However, Ford been advertising himself as he was one. Ford only has Le_
specialty and that is a General Otolarvngologv-Head 351 Neck surgery Ford is an
older surgeon and has been grandfather in for certain certification, but Ford is taken
advantage in which I believe all surgeon should have continuous education because
things change with time.

But the problems stand that the polysomnographic result show that I still needed
the CPAP machine I have the same problems with my breathing sleeping with a CPAP
machine. Ford had to use a packing to my nose with cotton - but is rarely necessary
nasal congestion, mouth breathing7 dry mouth, or a reduced sense of smell chronic nasal

35
Case 3:12-cv-01019 Document 7 Filed 10/16/12 Page 35 of 55 Page|D #: 81

 

obstruction may include nosebleeds, recurrent sinus infections, sinus pressure headaches7
and sleep disturbance When left untreated, these symptoms can eventually give rise to
more Serious manifestations of chronic nasal dysfunction including insomnia,
hypertension, obstructive sleep apnea, and even heart disease

li”nnetionai nasal surgery involves surgical treatment ot"the internal nasal passages
without alteration of the enter nose this is why l do not understand why ii ord removes
with my nasal tip lie was only to do a closed Sert) )last 1., reduction ot` the inferior only
turbinate ,i`:`Sut \:vl'ren he r.>pens me up l"` ord thil to address the oasdi )oi" ) or c rst /!rti/ Was
in rny nose and still in their today Ford left them inside me hecatrse be stated that he was
not treating my sinus "_i"he problem to this is this was the reason for one ot` nty
reason for seeing him in the lirst place in luly lw 7 2€`)l l, (See atrac'hment_l This too could
have been some of nay nasal prohieni. `_l`i`ord did not touch or dictate that l had a
nasal p()l_;iy)s or cast he tail to mention this too on my report The cyst/polyps had been
inside me since Z?.t)()ti and Were never remove or left on its own herd did not send this or
other tissue sample to the pathology lab to see i_t` it Was benign or not:_ Somet:imes the
cyst:/polyps can cause obstruct nasal passages in mild cases the removal is
straight'l"orwardt but the probability ol:` recurrence is otten hi gh, A.ggtessive allergy
trezn:nient.y especially i:`ungal allergies. often reduces the recurrence risl<_ Ford inst over
look What was stating him right in the face this ives a clear signs that l was sut:lering
with science in_:lection all this times

 

   

Again., l arn i:i_ling this l_vledica.l inaipractice./ negligent complaint with this a
motion for continuous treatment doctrine and to al so show extraordinary cause as to
why this case should continue in the most famous case Gideon v. Wainwright, in which
the hi 3th court states that to have or provide lawyers to defendants who can't afford
a lawyer in state conrts., just as the federai con arts l also feel this 'vvay because we do not
have the same playing itield. instead we have doctors in "l"ermessee they all have the same
insurt-tnce in Which they Would not right a medical letter on your behalf when they told
you they will they change their minds ’i"he pr'ohlent is that if 1 did not have this
document it would have heed their word against mines or in your legal term
hearsay instead we just need to live With the injury may it he mental or physi :al
because we do not know how to draft petition and do not know the laws This law
suit is about principle too This company is so use o:i` committing medical malpractice to
the point they l<no\/v how to get away Witl:i it_ "i`hey have done this in the l .<PSO’s as
mention in the above statement and are still doing this to people today The poor should
not he given a pass for doctors do to what they want at will and thinks it is okay
le,»et’s say that Ford did not do anything wrong and l did not have everything
d<)cutnenti. Are we saying that even though l gave Ford permission to do the
procedure he can go beyond my consent to open me up on a c§ose procedural And,
then leave a scare as it`l Wou.ld never notice let say that he did the surgery great we
cannot over look that li`ord done extra things to n'ie that \.vas not necessary and this
pi'<'_icedt.rre did not consist in opening me up at all because my nasal was not de.f`orni
severely and l Was not inform that it Wa.s.

l arn l'iaving reconstrnct:it_)n surgery to tit the :rnedical error `l-`*`ord done on me on Augn st
l O, IZOE l, l have suffered cornplicatiti)ns,, which require r_)ngoing treatment And what l do

36
Case 3:12-cv-01019 Document 7 Filed 10/16/12 Page 36 of 55 Page|D #: 82

 

know is that the "lf`en_nessee general lill\l"l" doctors here does not recognized the Sett.)plasty
technique l.`)ti)ctor Andrew `l---luntet li`ord lhereii;ia.:l"ter li`ord`) pcrlortn_ l would like to let the
record sl:iow that l am doin;__),r a documentary in this cases in which l am :lilming what

l~" ord done to me during surgery so that l this court;, and li')rrner doctt;)rs here can actually
see what l"i`ord done to rne, Since these regular general `l;':`il\l"l' does not l<'now, this would
benefit thorn and ine. And it would not hurt for this case to bc one for tire landmark
case as to how far would an insurance company that represent the whole static ol`
doctor in 'l."enuessee go to protect their interest on a elaine And, how the consist
doctrine is take front a doctor prospectcd. And how can a patient be abandon as a
means of retaliation i"or just telling the truth as to what happen l have been called
everything other than the mother tj)l:`(`jiod t`oi' reptn'tiny9 this matter to l\'l.rs_ l;`letty hose and
the patient advt_)cate lenni'l"er Wi`l son the oti"ice ‘iiiai‘ia§;ti'r_

   

NoW, What I know now is that mucus is a very necessary part t_)l"oi.ir human physiology.
When it l)et:t)'tnes excessive it is ellen a sigi:ial that something is o'lf` balance and that this
needs to be corrected `l.`)octors must in'l"orn:i you ol"tl'ie procedure they will perl`otin and
describe all the important risl<'s. Since `l»'i`ord. intended to perform a closed Setor.)last_v and
never inentit.uied perl`ornrinpj an open Setoi:ilasty. "l"he liurl_)i.nedto'nicy was never t;lisci.lss l
was under anesthesia so l did not have a cl'iai‘i§ie to tell `li`ord '"no”` then l woke up and lie
have remove inv tt,n"bina.te_ l did not have a chance to give him an in'l`i'.n"med consent 'l`he
si.i;rgery pe'rl"orinina was negligently

ivl_v images scans did not reveal any damages in the nasal tip5 yet `l-""ords removed a large
amount <i:l’iiasal tip carthage in which it left no strong support So when `l~`i"ord began to
under or over-resection my i'iasal septi.nn curtilage and remove the bone in the back ol"rny
nasal septum ‘:ause pain when he crush the cartila;;._;e and then reinserted this back in inv
nose without testing the tissue with a path<.)log_t_" lab is”ius't negligent

And with this the nurse that was on the i'iurse report did not do a recount o'l" the
currens/sponge count after sureerv. "`l"his too is negligent

Angust 17, 201 l_ was the first toreign object that was schedule to come out within seven
days was the two I.`)oyle splint. l;`Sut the nasal ]:)aclt;ing,y was still in me on this visit l
continue to have agonialng pain which lead to i'nl`ect;it_)n and pain ll lrept. going back for
several more visited When l inform li ord oi`niy chief complaint it wt'.)uld be ignored l
began to have emotions-il stress alone with the acute pain that continued ali the way the
second lorci<ni ol)`cct. was the nasal packing device that visas sewn in nie. "l"he reas<;m l
knew it was sewn is because l~`" ord yanl»; it out o'l` my nose alter hein ii inside l`or several
weeks which v as Se'p'tember l)l, Zl`)l l_ l~"`ord then told me that he would riot charge inc
l"or the visit and he did not l look at him like he was crazy because l just did not know
why he told me this, and he did not inform me what he remove What l~`i ord did was yt.-inlrv
the device out ol"iny nose and place it in a regular trash cain somehow he got he out and
then place it in his long white coat doctor jacket and discard o:l" the device with blood in a
trash can in the hall way

 

An§§ust 255, _Ztl`ll l went bacl\l to `li`otd ollice because l was having hrol;)lerns with my
swallo\>vin§r and breathing lhe pain was still going on hut now my §.;_§ltii~`itl.s tell ei~ilarg;je
and my necl\" was hurting li"oi'd ignored this coi'tn;)la.in't too. l was havin;;;v troul:)le brent hin §§

37

Case 3:12-cv-01019 Document 7 Filed 10/16/12 Page 37 of 55 Page|D #: 83

 

even though inv nose ives niee and wide Again `i*`ord stated in his dictation that inv nose
appears to he healing ‘ivell. 7l“he letter heed o‘l"tliis dictation ives for the wrong location
i"roin '\iv`here l had the surgery end ri»vhere l been corning re t`or my i"ollovi' up post op

i nj inv

 

Se;)ternher iii, R.{il.i l..)oot<i)r i*"ord ives negligent " ' n matter otan l`or permitting the
ann.l packing to rernoin in my nose r~riier sr.i.ri_,§erv l`or this l<'_in§_;; in lnvi; n surgical teriir)on
sponge or cotton ives le'i`"t in the nose l"ollr_)win;;:; o Setonlosiy end inferior turl;)inn.te
reduction surgery flint Was performed lay ll)octor vl"i`ord. li$eii"ore the incision in inv body it
was closed ii nnrse's count reveaiied that nothing the snelng or cotton was missing
"ij"here was no `Xl»rsy done ri ghr away nder the sni"ger_v_ jl;t`this Would have r_)cctn:red the
ioreig;n object woi.il<.l. have been seen this doy. `iv have the eroyr'lvii{l done months later et
this 'tin:ie the iiorei§;n ohjeot would not he seen Even the crush cortiinge Ford use in my
n<_),se to ninl<e the sept\.nn would not he seen on n l\»"l'Rl, §)ortor Ford instead noon
discovering the sponge several iveeii;s inter the fact remains that when the incision
was closed n sponge was iei`t in my nose And when Ford done his dictation he office
visit the ieiter head hnd the Wrong address from where `l went for iny office visit.
ljnstesd of Ford writing the truth about the office visit he wrote something totel§y
diii`erent. "if"his ives the day the ii_;-isel nacl<ir);__z,‘ ives ren'i<;)ve. lt Was sworn in my nose end i
have the sears to prove this 'too. anni sonr is nor noticenhie not unless something did not
head 'ivel`l, 'if"his is Why _vou ere able to see the score inside my nose because he yenl<s this
out that lend to this onrtiou.lzrr score lt is undisputed that `l-`i`ord could not hill ji\'ieol'iozire i"or
inedicol err<')rs that occur during surgery That Was the reel reason `i*`ord did not charge me
'l`or ihe r,.)ther three (l.i) follow up i'isii_

li/_Jy lf`i»nnily end l Were never even noii'l'ied o'l"ihe inei.licnl errors r.)ci‘:i.rrred_ "l"his is
extremely alarming how inedictd nri'_rl"essionzils ran get away end have already gotten
away With eomrnittin,§,~_~_; mail prentice by such m sons h'fijri)sr medical nro:l:essionels 'vvr.)uid
never comi:nit such nots, the il"zict We know it has l:un)pened sl:tould lend to changes in my
case the chenge `l)egnn on Ni,ny 2.4, 20'§2 on my lest visit, the clinic Was lin\.-'in,g; their
entire oniients” to sign n form r.)i`pri\/'a.cji/ not end to int`o_i:"m us to where to iile n medical
complaint This weis not in my record prior to this dire because they never gave us this
inil"c_)_rmati<_)n until now

(j`lenrlyv my medical record ives not safeguarded by hinttreesi;)orr_) i\/ledionl (j`li nic end
there risk ii'iairiri§er resin when this event lied ocor.:rrred. A record or pages o'i"it lies
disappeared port oi` the discovery process involves detern.iining who had ticoess to the
record And o list with the date end time on how many time a person or agent went into
my record lt is unacceptable for l'.`)<i)oti')r `i~'l`ord to editor end remove ined:icntion, end
treotrner_rt he olson he given me `ti"orn roy m ediool record l\»/h_irl"reeshoro `l\/'lediczil clinic
risk iznn:nn.§;ers shouid he involved When the alteration oi" medical records is discoverei'.i
And a third perry should he involve ns~»vi/ell l'_`)oetor i*`ord lied tampering With my medical
record by adding to the existing record nt n later dane without indicating the addition
is n late entry niocin§; inaccurate inif`orrnnti on into the record ornirrirr;gg,l significant 'l`aiots.
dating n record to ninl~:e it nopee.r ns i'i" it nero rewriting n‘t en earlier tinie.

Since 'l"rz-i.ri.d has been con_rmitrcd The Stntne of iiniirntions shooid be extended based
on the premise that fraud has been committed ,r~\nd,, l nm having contiuue<.l care

38
Case 3:12-cv-01019 Document 7 Filed 10/16/12 Page 38 of 55 Page|D #: 84

 

from a post op in Which l am having corrective recenstrnctive surgery to fix the
problem Plaintiffargued that in the Piscl v. Stanxf`<_):‘tl llosnital case the rewriting o'l"
medical records or the destruction oi";:)agest sections r_)'t`a.i'i entire mcdica§ record creates
n strong suspicion that the information in the record was so damaging that it had to
be concealed

 

i~`¥`ord began to alter my medical records intentlonsl`ly to altered end lose
docdmentation for to conspire end to commit trend this "'aggi“a.\/-'z-ited or outrageous
conduct" can result in the granting of punitive damages But to add to en existing
record altered,, 't`a.lsii"ied my i;nedical record which is a crime for pnrposethllj,-‘ to destroy
my medical record for the purpose to cover up i'ncdical n‘iali:)racticc. l~`*`ord and his
agent and or employer v:i<'_)leted my due ];)rocess rights for the purpose for me to lose my
<`.)pporttn'iity to tile a medical complaint ageinst him (l"l`ord) end the clinic l went back to
Ford because i vvas still in severng pain and l. was told by Sangeetl'in to go back even
when l did not want to. This is when ii ord felt that he should l;)egin to back date his
dictati<;)n. in Wiiiianxs v. "¥’eung, 258 Ga.. /-\pp. at 82~4, and 575 S.l`:`£_?.d 648 _li`nllowing
remands the Court ruled that Young's claims were therefore barred by the statute ol:`
limitati<_)n and the used to alter the statute <_)flim.itatioi:i with regard to the eontii:inoi,ls
treatment doctrine

in order to deceive or misiead en_v person as to intornit:ttion,, ineli,iding. but not
l'ii;nited ten n diegnosis test, 'nie<'.iieeii<i)d treatment or medical or i;)sych<i)logicz-il hist<'.)r‘yd
ct_)ncerning the patient Medieati<')n for thyroid treatment in whici'i he never in,t`<i)rm of
until May 1245 2012 nearly s year inter If)estrncti<i)n <_>t"evidence is a crime end so is
tempetii:ig with a witness l`)octors seem to get ;):~eierential treatment front the courts
"`lj'o sht.)w trend in obtaining your consent or in concerning the effects of medical
'n~)z=ilpractice punitive damages are not covered by the doct<,)r’s Ford n'iaflpractice
insurance

For instance, Ford should be brought up on federal charges for providing
inaccurate information to the state of Tennessee Medicare department for falsifying of
records lying on the type of procedure he was performing l believe that doctor Ford was
charging Medicare for services that he should have never received Expressly the Open
Setoplasty in order to make more money from the government insurance that he should
not have. The assault and battery charges (for performing the procedure Without my
knowledge or permission this behavior seems as a “Norm” at this facility lt is a fact that
Doctor Ford or his agent/staff has tamper and or altered my records Miss Rose she went
on a defensive mode I told her this too. She is a patient advocate but she works for the
clinic and her judgment was clouded when I was speaking to her. l-ler action lead me to
believe that everyone who come in this office and complain is being target as the
criminal and they t00 are being ban for practice their medical rights But they use
this retaliation tactic as a mean to get rid of a patientl

i~`"ord impr<.)periy caused me to continue core to treat the physical pain and mental
angi.iish, the possibility of loss earning capacity it` any and for physical inipaii‘n'ient end
si,gni'tica.i:it i;nedical expenses l was told that 1 Was lying and that they were going to
ban me 'l"rom the clinic l called jl\<l_iddle Tennessee (`.Ilinic hack to set tip an

39
Case 3:12-cv-01019 Document 7~ Filed 10/16/12 Page 39 of 55 Page|D #: 85

 

appointment With them to bait m§ jl.t§t `he§att§e they ate eomie§te<i with theoi. l am being
ahaiititme<l :l"ot t\/iidtlle "i.`erttt§§§ee §;`:`iat§ `No§§ and ”fl"h.roat eliiiie in §§mytha ot":tice \§"ithottt a

letter telling i.t‘tt`otmit_tg el thi§ too the t“ea§oh being i§ that the§e doctor§ Work With li`ot‘ti
thi§ §§ eatt§ihg me §tt§h harm to lind proper rtt§tiieal care in Nashville "l"etttte§§ee.

Septemher GS, 20 if l needed to §§e my ,l§’(.`,`i`~’ exert though l have not met thi§ wo.tttatt l
always had been §§ein§§ Sangeetha l\/.Il§ C,`,ttlhim .l}h~'\~(l` t".'het‘einat`ter Sangeetha} .`i have not
§eett my `l`*(j?i~’ at t"hi§ location §in<:.e l been there t`ot \§at§ and l <liti not know Why §he Was
itevet' there

(_)t:te§)ei‘ 67, 2{}11`! "l`w'o tttortth§ a,t`tet' the S§t)al §ott_;ety with li`ot'cl" l 'W§tit to have a
hearing test done at ‘§/'ahcieth'iit lfl'ill Wiii<et'§on (`_.`,§tttet i)et:aii§e l~`*`otti continued to ignore
my heating ptohlettt§ and ll really needed lot §<1)ttteotie to li§tea to my eorttplaim:§. So _l.
went to \/’attti§rhilt and they done a heating evalu'<'tti<i)h timing the§e office vi§it§ l 'wa§
diagho§e with bilaterally hearing lest and itt need t`or fheai“iii§.;z,l aiti§. l~`"'ot<l i§ an lf:`,l\i"l" their
a§ no tea§oh t`ot him hot to believe me again a§ to my iiiiie§§ .lt.t§t to iet )'ttedi§'tl concern
go i§ anoti'tet 'F<'_it"n't ol" negligent i"or` t`ailt,tt'e to tiiag.§n<_)§e and t.lelay iii trea.trtteht.

 

()etei)er ]§§_ ,?,€iii i then met I.`)oetot `v'iti§ott iii which §he too i§ a (`_lelietal ' '“_i` to get my
headache and tio§e pain with el‘te\§-ihg, eatq atrhhig chill worth and anxiety \'-"itt§oh
thought i may have "l"ivl.i.

October Z{§` ?.{}l 'i. a Sitttt§iti§ te§t tw<i) ittottth§ alter the §ttt§.§,'§ty thi§ t§§t §l'tow exactly
what l \l§a§ §a.yio§§ back oh italy `I_:'S, Zt)i() and l event to l`*`ot'§l ot`tic§ for the iiit§t tittle l"ot' art
ev:»,iitiati<i)tt for my §inu§ and ear problem l Wa§ ht~t§-»’in§`.;l "i"he t§§t §how§ the §a:ttte thing
§mail mticu§ t'etetttioit cy§t§ are present i)ilt»ttet"allyv With ito mti<:t.t§ thickening §o tl'te
timing wa§ §tttall ttta'.><i],lat'y ntttct.t§ retention Cj,-t§t§ bilaterally <i)tlt§rwi§e the §'itttt§e§ with
normal limits oh the te§o.l_t§ it §ta.te§ that l~"`otti have verified the t'e§itlt§ hot the §'trange
thing about t.h_i§ t§t>ott i§ that l~`"<.)rti :tewtote my age 'l"tottt 355 to age 39 alter te§ttlt§ \§’a§ and
§tateti that it was titl\/§titietl when l_`j,>o§tot l_`)el:)or‘ah \/"v'"iiiiam§ h"il.`.`) eieett'oui '.aliy signed at
Octobei' ?.»ti, Ztii i. at 8:5(§:26' again F<)tti ‘t:aittoet with my medical record again hi§
pattetttihg never §t<'_)p§. l`§fly age at the tittle was 3§_`.§’ §§ i`f)o§tot \§'Villiam§ \/\a§ §<'_)rteet. l al§o
l;)eiieve that `i`*`o;ttl Wa§ the one ih§etted othet§ thing itt this i'et)ott §tteh a§ thete ate ne prior
§tucl:ie§ i:`ot eoi:ttpa.ti§ott. A§ you can see itt the throughout thi§ c-<;)trtplaiot there Were tt'ta'ny,,
many cottipa_ti§<_m t'epott and §ottte it Wl:tich wa§ done prior to the §ttt‘ggery' ami l~`*`ot'ci ju§t

`l"§ are
§ttt)t>o§eti to §;§t tepoit§ ot get a Mi{l" C’l" ot X~i'ay §§'itt hel`o_te the §1,1;‘§;;§:“_§’ to §ee \.§"l'ta.t
el§e could he Wtoti;;;, "l`<) do a hio;)§'y t`ot l)e'l`ot'§ the §t.\t;;-_;ety ot`tl'i§ " t§t or pol_\/t)§ to §§e
which one We ate dealing with §o that !_ wanted have to have a §e§ott<;l §tttt:tety. lt \§”a.§
done tigl')t at the 'lit§t time 'l`hi§_it)§t §how§ a§~»\§-»’ell that ii`ot`<'i did not treat toy §itttt§ hut he
\§>'a§ §u'p;)o§e he§a:ti§e this wa§ the rea§tm l §eeit him itt the tit§t place hael< iii lilly 155,

20 l l. At`ter Ford §aw ott this §ea:n report it §how that l. §till have tiii§ ptohlem with the
eyst/pt)iyp§ that he tliti not t'etttove them while l he Wa§ fitting my §t.tt§,_>,’ety. 'l"hat Ford

 

  

()etei)ei' 28, 2011 went to See my `PCP ami it \'§*a§ Sangeetha V. \ie Clitt'llum (§t)ellint_;)
I§).A. .l` l;)eeti trying to §e§ my `i`~)(jfi’ hut t`or` §ome tea§ott i\'iiat'ia/h'?latlah continued to
§§hetluie me With Sangeetha lrt§teati t)t` l_`.`)<'_)§'tot `R.etia Nitani<;at"l Agarwal 1\»’1. l_`)_ Sangeetha

..

40

Case 3:12-cv-01019 Document 7 Filed 10/16/12 Page 40 of 55 Page|D #: 86

 

has been Werltin§§ alene vvit.h ne sneervisien. -\nd this ten `he.s delayed inv iinedieel care l
l"elt st this point l needed te see s M_jl.`) instead cite nurse l enh"t believe Sangeetha eetild
he _l_il<,e_., putting me e'i*l` ii`<`)r days While il arn having ti'enhie With my condition end this is
semethin§§ that l can never n.nderstendl Sinee§ she had been \i-*<.)r_l§ing alone since `lf l<'n_e’\v
here et this et`tie-e. Se new l nine suffering heezinise et`the mishap et"thei_r e<')llea§;ne that
shenldn"t have happen

Nevemher i(l, Z(ljl.f l went hack te S(`_,`h"l"l" saw deet<i)r .lehn jl:<.eni_iet`h Meri told him tha-it l
was having prehlems still sleeping \>vith the machine since the surgery en /\i.ignst lt`)`_

Zl`)l l he \vented me te disens with i;`:`ii\l"l" te see When cain i reese the i‘neel'iine l need te
tva-neil my i»v'ei;.§l'i‘t' gain We taill<‘ sheet ways te rise the machine While dealing With the
nasal ps.in.

I)ecemher 21, 2012 Went tie l:`:'iR t`<'.)r 'V<;)miti:ng and :teti§.§ne end sinus il vvz-is disgnc_)sin§§
With verniti_ng end `l~~~iypekslemle pe‘t'nssiun:i. ,

dentistry `§.{}, 2012 fl. had n cervical (`_f'l` images done that visit order by h/l.`zirl< Willisnis
(hereine:l'ter Willizrms) et Setithern hills with s different reedhig dene l"rein the radiologist
this eenld he s sign i;):t`esneei' cells hut tier l\lterl< te,inst ign<:)re these signed ei:id net

`f Y"l" §ilivsieinn is
inst negligent Wiliisni did net ini`<;rrm me te where re ge end Where tie get treatment i"<.)r
the new ’l"hyr<)id problem l have <,>hreined. this illness because et` the delay et"trent:nient
litem these de<;:t<_)rs. 'i."hey kept telling me that the swellen pain l \>ves feeling ives in my
heed

 

il sheul<;l have heed reterrel te have ti chance te shrink the bilateral lymph n<;)des er
rnali§§neneies involvement in my threat end cervical eres.. But tejnst have rne net he
eent:_i'el inv swollen :li`er this period el` time is just ii.isan.e. l.vl`v 'I`hyreid gland
homogeneous ties eitherneernent and there wes ineeesel thiel<enin_r§ along my lateral
aspect efmy left maxillary sinus With evsr er p<;ilvps retentiens ll`r`<'.)rr;l never erder amy
biopsy he Wen.ld had notice this tee during the si.i.rg§erv. But he wes h<_)ni_:n§§ thst: the evst
er ;)elyns \~vnnld just ge away l-`"r_)rd ives expected te de s wait end see game in see what
they W<;)eld de.

in my eese they Werejnst getting l;)i_;§§§er, l lied s uncertain findings ei` 21
bilateral svii'imetrie siihmandihuiar zi§§nd enlargement significant this was the third
negligent that herd enid the ether i§ii\l"l."s lied ignore because they it`elt l Was rrisl<in§§ this ell
nn lt is very 'l"itistrete when ven have speech impairment end rnisjnd;§e what ven tellin;§
them ss s lie "lj`his ;i)rehlein is part et"niy disability But l still should have §§ett:en z-i
referral t`rr,)rn sen:ienne \vhe deals With the suhirinhdihuisr gla.iid.

I.`)eeter (`jherdsl< vvr<i)te in inv reeerd that the pain e<'_n.i.ld he mere psy<.':hele§§ieel
then 21 reel feelings What l. de net understand is hew is this part <`.)t` her medical expert es
te the ivey a patient feel mentally When she is net s license physielegist. And she never
told me this she just insert this informarlen in rey medical record Tedsy it was truly n

\

real e<`_nn_plsint "i"he seen speaks 't`<;)r itself

Ne><t the rndi<'_)l_r.itzrist had left the final re )r)rt result et`ni t nee`l< en mv disl< When
f § v

41
Case 3:12-cv-01019 Document 7 Filed 10/16/12 Page 41 of 55 Page|D #: 87

l went to pick thi5 up. 823 how the int"ottha,tioh oh tht: ratlit)_l<'_)§§i:;t \5'235 left oh the tlis;k and
thi5 1555 how il Was a.t)lt: to §§ot thi5 ;ih:l"<_).i:‘matioii. §§omehow, the infottnat:ioti W215 left their
t_dy 'hiiStak_t: 2311<l t was able to retrieve it 1311 my Cli5ki to evoh though they cio not leavo thi5
i33tii'.)i‘:i"na,ti<;iti on tl.i_5k t`oi‘ the patient to 555 What they Wroto to the tl.o<;:to;t, 1323523<i on
'i'ii'i"t)i'itit-itit)h 23112l titliot`l 2315<) notitdtd that my tooth i5 1`11:`155i11§§ it5 right iii:ixiiitii*y
pt'emoiax‘ and hay iet`t maxilitiry ii‘lotar is absent The 1'2ttii<3l,t;3§§i5t topott t been getting
i5 mi 55i11§§ ltir§§o 231313235 oif`iiit`<:)rmeit;ioii This i5 why it Wot:iki atit.l Shotilcl he good practice
to t:omt)z-ire the other C’i" 5521115 and t\/_li{_t_ rtza.<iingt; 5<3tih21t hiteti:iozti'e/:\/tetliczticl w<'_iti.id hot
hitt t`or double 5231'\2it:235

tvhiich 3 2012 13 C l_`.i 2102: without 201111235 was order by Amher`;§e We:zti'ri tv’lichtiel show
7111111 xiiiicus 123t2311t.ion5'e;r5115 polyp 1111:},123 Rig_§ht itiaxitlztty 5i_1i'21.5. 'T`t>mpt)i'oitxmi(iihuhii‘
joints tate within normat timits ("f"lvlj.]). "I`hex‘e 211‘23 no abnormatiy eiiiarg§ing cervical
iym;)h noties. hat the record show that there Were no 'l`i\"f..§ and 1130 enlarge <)i` l

cei*vi dal lymph modes now but they began to grow and enlarge iii thiiiti:n“y tti, Zttt 22
"ij`iwy never check my sativm;§-/ g hmo hist hover tito miythin;_§ to ride out this ilhxtiSs.
Sti!i has 5013;23 i)itzediit§§, tile prohtoitt is that i was not given anything other than
antibiotics throughout the years to treat the 5iiitis irii`et‘titm. l Was not given anything
to tie it the thyit)iti tzzitax~gement, unions retention of c\'st 131";31’3131;35 since their ag ziiii
Was no biopsy and ij mph limits that 33 215 in my cert 12 ai t_heii. 235 it` it 3 1151 tiisa;);;)eai‘s
without any _nietficine to treat or shrink my mass~ iymph modes these ixla.ssfiym ph
hodes are that keep reappeariiig with no cause 235 to why? These images 21¥50 state
that there was no foreign body part, no thattt_§iiitit».ht of f`ractui'e. "i"h€: oi'oblem i5th21:t
tim `l"`t t`oroii§h 1;3i33i<3ct:'5vzi5 rottio\/e back iii Sopt tei:ht)tdt“l 201 t itt ii"ot'ci o'tt'it:t: 211'3tl l tolti
I)oot<h t iittcl§itt thi5 5<3t113<:-htdtdk `<31 it when it \>\/235 2111@23dy 1"<~313'1135'<33 311/235 21 35'235t23<3t`ti13123.
N<,)\53t:l123 11}1.1.<35‘1ioii i5 cain you 51323 Ca-ittilt-i;§e oh :\/t I{tv (f` t 552-trt `X~»i‘aty i11121§_§235. "t"ht= 21.135\>§'231‘ i_5
iio, 21th `li`oi'<i 211/itt the other ii:it\i"t"$i knew tiii5 The `E"eti€rttl question is that if 21 iili\"ij`
doctor take an i)otiv pan that (§2_301 c to ated naturaffy to §§tirft)rm one way to §§et this
part to function other way, taxi it or Shoi.iiti it i)t‘ remove and reuse tot another
purpose of one hod " ? hock should the t`i`ood ,[_`)'1‘1.3§; izt\ti:mi11'i5t;1‘2tti\fo (htii*oirttit`toi‘ `ii`if)A) ho
want ot`tiriy 5ici23 et t ih its entirety that may occur dining thi:~_d exchange o:i:`body parts
to he reuse The next t`eclota] qtio;~;ti<i)n i5'1:]:121tit`21 tt\i '1'23111<,35’23 czirtilai§e ‘iii‘oih your hoti§'
and moiseiize (crush) tl 1i5 thinle and i115231t it hack 111 youi 11<3523 i5 thi5 kno\>\ 235 23 iom<’n
object it thc-3 l itiotl.:ic 231 hook 11121\/ 521itt. that thi5 2011515 lot one 21 131212,13 oh host to yoiii
i;)otiy 1121)53»?

 
      

 

lvlaich .`St`}, 2012 123 i5it Vi115oii 211 \aiittoihittt 231 51)1221l<:i2ii 1:)21i112113<t <‘21512‘2111323i11

A§)c~ii 99, 21312 II)<:)<:t:or i§olly A {f.`.tii'dtdh once 2211 tiiter‘hzil h<lo<iiohio., 512323§) h'l¢z<liciiio
(§t'itioz~i.l (`.`211“23 Metliciht:) and t)tilm.ohai'y t.`)_i52323523. ".t`hi.5 1‘@2.15<1)11 t"`ot this <:oihpl:/;ii.itt is hecthi5@
ofthe mishahcttin§§ ot"my 111232§§2‘.23§1 523123 and 11<31‘13131‘52311231 huerta-51 with t.`)ot:tor t**‘orcl_ She
had Wi'itt@n in my media-tit chart stemming this She wanted to zitidi‘cz55 111 their i_1151:t3231i ot`
evet‘ytiiiii;§ we talk about What l did not 1111<:1€35t2iticl why 5ht iii5t1‘tiot;oti me to go back
and taped 1'23<;231'ti doctor Foi“i;l ever though t did hot want to ;§j<i) b21.<:kto hi5 o:i:lico. ilft`l tiitl
riot ;§o back t would not have been hart tiom the tdlihio_ She told 1115 that he 1555 the only
otto that k'htew What all that he did to mci t total her know he tii<i h23212321523 he has heart
t`otgett.i:n§§ What l ha<il come there ii`t_)i'. hoist romihti mo ot"thy §§1“23112l111<:31:h@1“ When She got to

42
Case 3:12-cv-01019 Document 7 Filed 10/16/12 Page 42 of 55 Page|D #: 88

 

old that she began to t`<;)t;.-;et things She also mentions things in which she could have
gotten this l"toin me ot her than l_`.`)ootot l'"~"otd and that when she mentit'_)ns that l had surgery
on ttty a'ntei'i<in' totbi_nated. in `l"<ii.nuaty ll.l., 2012 l had 3 (`ff"l" sean with contrast from lf)i)c:t:<)i‘
Williatns a l;`§z`,N"l" and he go the tesi.ilts bael< ste-ninal What is some ol` my tz)i‘<_)bleins, l;`hit
what she could have done is get a copy oi` his

April ll), 2012 lj)octot lj)a'nielle Shei“t`i i§h"ain l\/lR.l W/(_) contrast shows normal l\/ll{.l other
than tiny t'nt:teou.s retention Cyst in the tight maxillary sitttisl, pitt she Wtote it was likely
an incidental finding .»’-\ga.in, it`they would have look at all my l\/lelv C"l" scan and `X~tay
like l keep asking them to do and this is what they supposed to do is compare images
'lihey would clearly know how much l am indeed sttlilei'l__ng. But the lack o'l’ them not
knows only because they are being just lazy is not good because it is delaying my
eare. it Would not have hurt them to request the images because it Would not have
test them anything eithei'. HPV strain with radiation surgety and radiation check
l’ot~ throat cancer this is a growing disease l’artners can share the visits but not have
any problems

nier l.(l, 2012 had a normal Mle and l\/l`RA it`the brain but again in the finding there is a
tiny ntnc:ous retention cyst in the tight i'nz-t><illaty sinus likely an incidental findingl "l"hey
problem again is that there Was never ineldei'ital tindih§_.;. 'l`hei“e just lael<: ol"
contintimidation i»\tith them t;tying to do t:t_)i:n'pating the images lt has been li*iisttatin§; l
keep begging these d.o<:tt_)ts to do some that they supposed to do as a dot:tc,itl "`l`hey inst
lacking to do this ate just gt<;)ss negligent This image Was done Wi'tl'ni)t.it contrast

April il l, 2012 had nose bleed When l saw Sangeetha because it wanted stop l_ was told l
had some nose damage pilot to this appointnient:_ Still having problem Wi.tl'i my nose and
explain this to Sangeetha l was treated lot hj,»'pei'tension and anxiety

ill/lay ljl., 201¥.2 l saw l<_elly '~\ (`ffa.tden i\'ll`.) l;?»<:)atd (j§ei‘tiliec'l in Sleep h’ledieine l been
diagnosis with (`)SA since 2009 l told her that l having a hard time sleeping with the
(`f`l?’j-\l`~> machine d tie to a nasal repair oi` the septum in inl"i=:tloiA turbinate reduction on
_f~\tigtist l()q Qf.ll `l. l told her that it Was dittit:.i,ilt to use the mass to the nasal and 'lit.oial
pain We discuss \a'e‘i§;li't‘ lost she Waht me to be as little as she was and l asked he" l~~-lt_)w
nineh, does she Way, {',`,.atden done a hand gesture as i'l`she did not Want to \i‘ei"l_.ially inloi'in
ina We told al;)oo:t sot§.§ety o:t`(`)S/\ she said that (`i)..»'\"l" and (i`l`~)Al`-) ate not <',)oti<_)ns at
otesent, l told het‘ that l attained to do the onhnet.ty to do a studs on nly oxygen level
Wl.ienv l ana sleepltt§g;l "l`"he titst time Cai‘den thought that l had some a,rti:l"aot between the
hollis ’._~?,3:3() and f`)():i’)tl and the second night ll had sanitation Was stable With a sat t'.)l`<.)()"/’Ei
't`ot f>€),t ofthe time She told me tojost lose Weight and try to maintain a lateral sleep
until her :t`ace pain resolves/lessen until l can refuse the PAP_ l was diagnosing with liab-ial
pain (”748.(.`))_ She also stated that this was a 24 minutes and greater than 509/ii o't` the time
Was spent counseling the patient and/ot eo<;itdinatlngt tate

h"ltty Z'l, Rt'_ll?, event the l§il`{ again about nay nose and the pain l Was diagnose with
Sini.isitis and pain was given antibiotic

hilt-ly 24,, 20l2 went to my last visit with ,l.`)<.)<;»tot liotd he admitted to me that he treated
me and diagnose the with thytolds but the problem With this too is that there Was no test

43
Case 3:12-cv-01019 Document 7 Filed 10/16/12 Page 43 of 55 Page|D #: 89

 

 

ran oh me 'l"er l~`iiee "l"hyre><ie index "`l"41 'l"Sl-l`, "l"-l.§l.li”`l`s\""1§§?, last yeah lioi“d Said that he
treated me and gave me prescription oli"this medication eince August 8, 2611{}. f want to
let the record straight 'I`he.te is rio i;nedicatioh that l Wac given to prevent or control my
thyroids and fl`. would he able te give this inl"oririz-itieh te aa pi‘t_)c)l"'li‘r_>m the pl:iz-lrniacy_
/~\l'ler l lel"t l got ai:i<'_)ther copy ol` my records and thi$ Was the day l lietice my recor<.ls \»-va&z
again rcwri'lteh., re~ add and remove 't:l'iih_§;a litem the record ifth l Sp<)ke to l\lr$, Kelly
ab<i)dt this aa»w'ell»ae re why they l"el't they had to do thisl to me li`ti)rd did not out that thiel
wait a l`<_)l`low ~---up visit to a coat op injr.ir_\/_ Ford only marks code 9<§>2`1<4 l:`;`iS"l" (j)\/'./(`_)P mod
florida lis_$'tead ot` ‘§W().’Zd P..--"'{.`) l`<')llr_)W~u'p visits "P’?id l'*li'-`\ trac-ial l`-’ain Was what l"ot' wrote on
the l""'ee ".l""iclrer alSe states an §Slil`>’_()tf) pre\/i<i):,ls balance l was riot aware ol".

l»? ord then wrote on my medical record what he Wanted to enter and hot
everything that was d.isc'ds at the visits_ "l`he chief ce'o_iplainr Was over look agaih; he
Wrr;)l:e that il Was en heavy dose of Neurontin as if l Was a j unky hut the problem with
this alahder this ia not a 'i'nedicatioh that you can get high or make you a.rlrlic't'iw'e_ li'or Was
trying to Say that l was a_i'dnl<:y or l nli$dse my medication is not true and it is siande!x l
never had been admitted in a patient or ol.h`;pal:ient ’l`or prescription tree o'i` medicali<_)n. "l"hi:t
Wa:'»‘ slander ih its up itiosr` l"orin. l do hot like taken iner:licz-lti<.)n and lhiS» Waa the reason
l()`. 120 l I.Z_ l Wa.~:» called by their c'l:`i:ice i'ir€liizi,§tei` l\/lrs. .leni'l`er when She called She told inc
that l Wa$ han ,li‘om there oi‘ac‘tice other doctor think that they are rrli:;iuaih§; drugs and
Sayin§; thin§g,'&; a aug ~atenl:orial factor in Which l was having tree il`lnesrs whicle 51 With
my hose and salivary gland he allow this to cohrit’iue to grow instead ol`doihg a work rip
to ride out other ill‘he$c he jd$'t eai,d it Wa&; all make believe But the swelling do cause
pain es;i»eeialfy the location of the masses and lymph modes earl cause serve pain
”jl"'here are ne Words wcr:~_;e than gross negligent that il could think to describe the hurt and
l:ierniliation l endure doing i;n_\_/ care while in Severe pain l did not know why he did net
pitt my chieli`cri)i'nplaint err thi$ ticket Based on i'n'l"<i)rmation and heliel""rhe reason l
believe he done this ia because if he bill Medicare ’l`or sisius./"paie then they
Medicare/Medican would have le pay him for this visit h“le<liez.-xre/"l\»‘l`edicaid aliou.ld
have been charge lf`or lab<_)ral.er§»' virerl< they were not hill 'f"or wa;s; Su})oo$e too `lnStead `l~i`ord
done a Shoi‘t. cut ih his per‘ll`ri)rmance eil"i.ny aut§_§ery bailed oh i'n'l"otma'tlio:'i and beliel:`t.his
Wa$ the other rea;~';o.n l:`or the edr§g,ery lasting this len gill o:i"t:i;me,

 

li`ord Waa tillmng the lab il:`or his on congest because he could not
remember Why he thought he gave me hiedicatitim 't`or "l"hyroide because he did hot write
ih my medical noted but he claim il Was iii my medicati<,)n :re;)otts. l mue‘l admin Ford is
very elavier for covering up thia medical malpractice error. And li`ord diagnt_)se nose oh
thi$ l~"?`ee "l"icl<et wait nerve pain but he ii/rote Sr_)m<;:thin§; dii"il"`eren'tv in my medical note on
hhs dictation on this day ,»'~*\rrd this day he \/\fanl'e<;l to have lab dene l"or 'i"l'iyt<'_)id treatment
to cover tip the reason he told me back in lilly 154 ZGl l ah to Why he thr_)u§;ht he gave me
medicati<.)h l"or ”l"hyroid and then did not dictated What We diact.i$ in the room ab<'_)ut this
he left this ol*l:`. l know by law he was Stipt)<'_)act`l te insert everything that Was diecids:;in.g in
our olli ce visit jl;`;h.it Ford just did not do l:hii; will be gross negligent But they also wrote a
date ol"l\v October 2th 201 l in which l did not u'ndersztahd this \a’r_irteri repert and 'thiz_;
Was hot dictated on my medical record either ".`l.`hey also got a message date ol"
ll /t_`l¥.?/Z() l l`) on this Sheet too which does not rnal<e Sihce This is one reason for phone

44
Case 3:12-cv-01019 Document 7 Filed 10/16/12 Page 44 of 55 Page|D #: 90

 

record report t`et the date l mention "l"hi$ Wt)ulcl Shew il"eny <')t'the <le<:tnt$ .l. Sth
spoken With l.`,`)<_)etet herd 'Wt*ite aheth my illness \~',ith<)nt my l_<n<_)wled§te. l:`:%zt.se<:l en
int`<_).tnieri<;)n end heliet`_l believe he he&; spoken te et learn twt_) et the deet<:)t$ l have been
Seeing;, "l"hl.s; itheuld he part <;)t"diseevety. "l_`"here well el&;e ne eher§ge that was Written t`ei" en
this tiel<’et let this clay We (r)etient) he<'l te Si§;n e n<'_>ti<:.e <_)'l"l~’riveey practices ;t`er pt‘eteete<l
health lnl`erntetlt;)n. 'l"hls; Was 'l"et '['"eilure tn tnlli)tni they \r»\»»’elted vuntil 'I'l'te_t__" Wee ewing tn he
S'u.ed tc) give us thiS 'nt)ti'llcati<)n Where We een gte et te 'llle tr rne<lieel eti)rnple:int heeeu$e
We Wes never in:t`e'i'nt until nearly e yeer le.tei', l had te :l"i;»;;nre this ent me to Whe l needed
te tell-t With end thi$ is hew l found l\/lr;~‘;, R_r,)s»'e the patient etlvi‘>eetetl..

l\/il`ay 25, 2(}`§.2 \/’in$nn treated me l"et pont en penn a hl_er~z<:lin§gw typical it`eeiel pain hut the
Se.livz-tty leland We$ Stil l net a reesen t`<')r reeheel<;ing it.

thirty 2*}, 201 2 net let Sr;ire What riley et` the '\.tieel< lt three hut l tent same it Wes the last week
t)'l"the nt<j)nth. i\-/I`I"S. lentnlet Wil$t)n (hei'einel'ler .lennil'et) told the She even ;gr;)it:t§; t<i) etincel
my npet,nnin§; appoint Wlth ll)eetet li`<;n'cl ean the l\letn"ele§_;l$t \f\,'ltr> wet e women
physician which was schedule l‘er Jnly 39, 26`12 heeense they went l;)ennin§; me t"i'e_tn the
'p'rec:tiee. l asked her why end She Se.icl Slnc:e l l"elt thet lf)eet<)'i' herd was net helping me
550 new She is my psychologist tee. The problem is ther l W:»,n; given a reason as te why
hut when the letter came to my horne nearly a month er 50 latter lt did net mention the
rl.i$etts$ien She end ll he<i. 'l.`he letter wee '\/'e§;ue written lil<e e Stenderd letter they address
te the entire ;‘;)et:ient Whe makes a medical allegation

June ll l. 20.¥2 l_`)iegn<j)ztecl With (jfhtenie Si'nl,isltl$ her l went telcl en O"/'- l 5, 20 l l that it` l
de net e_jet thl:s Ser;.g'ery alene lt w<'_)i.lld he chronic infections but it the other teclielt)gl:st
end l§i?\l’l" doctor pull these images they W<')ulcl have earn te thet deel$ien

._ltme 29, 20}2 l Went te the l:`§§R egeln li`er end Was tllzt§§i'l<)$e with "l"ertl<:<i)lli$ nm$cle
Sr)eente t_)l`the neck end Sl:tt)ttlcler. But She Were tiinewere te li)eeent;e She did net lc)el< in
their sy$'tem te see my history But She west able te give me Senie t;enti'ei:tt. l teld her that
l did net We'nt any ined.i<;e.ti_<;rn hut she teld me it`lt was going help a little hit l need te ge
end use them l was concern about my llve'i'. _l` wentte a ceuse te my problem net a
temporally :§i'.>< l lest wanted te tln<l the underline eet.i.:i»'e te my symptoms _l`)i;)et<:)i‘ .leme$
l.`l><_)rehe were the tl.eetei‘ en etell"this tley, She (le.i'ne$} 'l"elti l')t)n¢' my ninSe-le W'<t.$ contracting
end Se She gave me

.lttne Zt`} 2€}.\'.?. X*Re.y <i)t` "l`enrt)tn‘t)ntentiili)t,tlet leint lilileterel (hereina!l"tet 'l"l\'l'.l') <:erne heel<
negative let "`["l\/lil

J`uly l,'?’, 2{3!2 l teague et vague letter 'li“<')rn J<)Sei:)h A_ l`~)eey ((i’.l';'i(j)_`) that watt a Stendertl
letter $en_t te rne by l\-/llt's. l:`Zetty l Rese (`he_teinet"tet R,e§;e). Ne\t l then tex a letter end
certified t_,lnite<l Stated l’eetel theil_ A. Netlee et` intent te tile claim wee Sent to her
(R<)Se).

Nt_)wt, l_\'lrs_ `Rr)$e told me a different St<:)ry :l"er Why l west hen litem the clinic She teld _tne
that .lennil"`ei‘ told her that l Was male te her ever the gi)hene end this Was the teesii)n Why l
felt es it` l wet being prerilt he >et.iee they li)t.)th were telling n’i_e tw<'_) different $tt_>ties, She
called me e lying and 30 theyl went en anal cancel my lilly l"-l… thin hen was net alene

45
Case 3:12-cv-01019 Document 7 Filed 10/16/12 Page 45 of 55 Page|D #: 91

 

correctly J`l"hey wr<')te a letter to pni)tec'l their interest but the legal question lye as to how
they going to han me when the letter stated after lilly 3d 120 t 13 `l woi.ild no lon get he a
patient of t'hei.r. ".`lj`his c<;)i'iverst-iti<_)n was dooi.:iment as to what 1 was told and is different
from what both Jeniil"er and Rose. told me this was only done out of spike and envy and
retaiiation.

31in id, 29 112 went hack to \""and.erhilt saw l`)r, i.<,imherly \"inson, she then made a copy
of the procedure that l brought in the office this day :h'o.ni my trai:isc_ripti<:)n ol" my

pr<i)cedu re `i~`i`ord did on me, Vinson then told me that never perform a procedure like this
one i)et`<_)re, l was ii'it`<')rined that what li`ord another object is stiii in my nose and this was
the l[,itoi)lem_ (_i,`iome to find out i'i"ci‘ush cai‘tilage that is rei_ise and replace in your nose is
aiso i\'now_i'i as a foreign object And vinson said that no one would he able to see this in
any i\»/l`Rl, (`ff"l" sean, or X~ra.y l then told v\"’in_son that Ford wt'<i)te in niy record (j)n ivan 'I?.»~is
203 2 that this \>vas all supratentorial factors that l suffer from taken the medication
'l..,evaqi,ii.n_ This :inedioation leads to side effect iiiness which `I,`)octor Ford i§§n<')red

"`l`_he surgery Ford performs is unpredictable procedure this should not he done
this way because of the very reason lf)t.)ctoi" :K.intheifly Vinson stated that she could not
explain the medical rec<')rds being tamper hy Ford hut she did said that it"s not supp<_)sed
to he like this if)t, Vinson also stated that she have to get with other pl'tysiciai:i who is her
partner at '\-’a.nderhilt because she have not ever perform a ;;)r<i)eedi.u‘e like this one 'i"or a
Setoplasty Dr, Eugene Kern, who coined the term "empty nose syndrome"7 claims that
this condition often gets worse over the years through increasing wear and tear of the
remaining mucosa in the nasal cavity, because the lack of turbinate’s leaves the
mucosa overexposed to unduly patent currents of unfiltered, and under-conditioned
airflow on every inspiring breath But the problem with this that some of them are not
familiar with the “Empty Nose Syndrome” My images look empty this is how Stern
came up With this in 1990. The Ct scans look empty to the naked eye and this is how
they came up with this name for the empty nose syndrome or Wide nose syndromel But
the plaintiff argues that her nose should not be thi_s wide. This is how my nose is
today and they just not telling what it was l had to look this statement up and this were
list as to Vinson statement to me. My nose is now nice and wide inside, This is one of the
side effects from the surgery too and they did not inform me of this either. In fact7 when
the loss of turbinate tissue from which the nasal mucosa cannot recuperate from the
daily onslaught of direct airflow.

Juiy 22, 2032 'i"'oday ii was waiting on jl.`)_i'_ i<ii:hhei“ly ‘v'i_i:_is<:)n to cali back to give me the
answer on \»vhat `l`.`)ootor `l`~i` ord did, ll have not l'ieard back as ot`yet. l was having hi gh fewer
and teit'i'perature 'too.

Jufy 23, 2012 (`j)n or he'i:`oi'e l contact a lawyer at this time l goii'ig to cail him Ja.i‘nes and
he told me that if have a gt)<')ti case hut he had t"o:'~ neariy two months and he had two
nurses took at some oi" my medical records and due to the way they was drafted and the
{f)pe.n Setoplasty he could not take the ':ase, But he did tell me that he wanted too lt is
hard ii;)r doctors to tell you that they 'w<'_)u`ld not do O';'.)en Seto'piasty like this

.}'uiy 23, 2{§12 N eat Generat.ion imaging they did not do any comparison even tl"iougl"i l
gave them what l had nothing was noted for comparing even thoi:igh we sat down and l

46
Case 3:12-cv-01019 Document 7 Filed 10/16/12 Page 46 of 55 Page|D #: 92

 

 

 

gave the tech copies ot` the other images _l. can truly say that the con_elusion is incomplete
l truly do not understand why no one what to do eomparison. A\.nether federal question
is that shetxfd linages fift)ii;;zarxy' and hospital and clinic do and be comparing
patients other images reports With their image so that they eaa get the proper
diagnoses and treatment With inedi1alion/rndiatiion/Snrgery to treat the merit tai
illness l:`;iased information and belief this was the }'n‘obiern with nly earq jaw and chewing
the sal.iyaty gland has continue t o grow and is why t earnn;)t swallow and eat well This
has made my ear aohe, But lot these l:`§jl\‘"l" to o\-'er`lor.\i< a serious problem is hist purely
negligein' lot failure to diagnose treat and monitor this illness /f\nd to either relerral to a
doetor that may be able to handle this illness

Angnst jl., 20le diagnose wi't:l'i rare bacterial inl:`eetion Sini.isitis 20,000 o'l':` mix bacteria
and nine-us which is a rare condition with my blood being low fl)oetor (§~reaves stated
that in years that he practices him never saw anything l'ii<:e this before When f told
Sangeetha 'l"ronl my P(_`f`l~“ o'l"'liee she laugh at me and through it was t"un_i'nng. l told her that
'i` could not get my injection for my neol<: until all oi"tlte ii.i:t`eetion is gone She then told
me that she inst going to say that my infection was gone in which it has not lel`t my body
j ust yet l was having a high ’t"ew and temp this day too ..~'-'\nd she oyer tools l_jlterus
enlargement wl'ien l was telling her 'l"<i)r a \»\-“hile now she th<_)ngln l y\'~'as making up the
pain l. told bet to do ultra sound one was tn"der‘ on june ;'Z(.i, I,-ZGi 2 and it was then when
my test show that t had large number ol` nabotl'iian eysts in the eery'i)<., whiel'i one appears
to be iny<;)hiting or containing some henn')'rrhagie tluid.. Now, fl ain not doctor or nurse _ll`
Sangeetl:ia would have list to me long time ago this \:i»»'ou.ld not occur ,_'<\_nd., thicken o't`the
endomettiz»i.l canal with tii:tdin§;s suggesting retained blood products benign appearing
eysts in the right oyary_ l asl< Sangeetha :l"or steroids to shrink the tibro but she keeps
lorge'tting to give then'i to me

Angnst 03, 2f.ll?. l had a il"oliowmp i:`ot my pain with .l.`_`)octtn lee

Angust 6. 2012 was diagnose with swelling mass lump in head and or neol\' area 784.2
but was not told anything aboi..n this illness "`l"he pr<i)li)len'i with this diagnose is that l had
this problem sinee llanuary 23, 2012 but l`[)<')c't<`_>i" William ,l,aol\v to tell me about it this miss
information cause some ot`rny t`aeia.l pain that l have endure and the laek o'l"_hirn not
telling delay t`or me to get treatment l did not get any treatment l"or this at all jl\l'o follow
up nothing or a.ny'l:l:ting. and pti)st op pain 133 . 118 on r~\ugust Ot§d 2012 it was discuss but l
was not told what to do about it at all he told me it did not have anything to do with my
surgery and that What Medicare I is unaware about the true type of Setoplasty being
perform /\n open Setoplasty by means ot`an open Rhino ;)_last ’ a ') iroaeh to address the
septum and the problem with my septt.nn my have been unnecessary "l"he tecln.titn.ie l*`or'd
did is debatable and u.rn)rediotable. What 'l""`ord 'l"ell to do is to address this to ivledicare/
l\/iedicaid and me lispeeially i:t` it ell:`eet my nasal tip il" the procedure is going to cause a
rn'_)tieeable scar and the only reason it may have been no'tic»“.t-i.ble is because ofthe way it
was sewn back t.<;)gether and this would have caused the scare to heal wrong this is how l
knew about the external ineision

   

August 6, 2012 I saw doctor Mark Williarns (hereinai°cer Williams) for post op pain told
me that l have every right to know what is going own with me. To tell him the problem I
had with him and other about a problem that truly happen to me and ask why they were

47
Case 3:12-cv-01019 Document 7 Filed 10/16/12 Page 47 of 55 Page|D #: 93

 

treating me this way. I was owed an apology.

August 6, 2012 Doctor Vinson called to inform me that she gave my medical record
operation transcript report from Ford procedure to Doctor Reis (hereinaiter Reis) who is
a Board Certified Rhinoplasty Facial Plastic Surgeon informs Vinson that l did have a
reasonable complaint for the pain l was experience Another problem is that Ford is not a
Board Certifled Rhinoplasty Facial Plastic Surgeon. Ford is just a General ENT that
could perform certain surgery without a subspecialty license But to mislead a patient to
believe he is a Rhinoplasty surgeon and then perform Rhinoplasty and open Setoplasty or
what every Ford done to me during this surgery have cause me to have corrective
surgery Federal question, if an General ENT take a patient medical operation
report of a procedure she had if the doctor goes and speak with her partner who a
board certified Rhinoplasty Reconstructive Facial Plastic Surgeon and do
understand and recognize the technique about their patient about a unknown Open
Setoplasty technique did the patient doctor open the door to seek knowledge of this
unrecognized technique they by means of Rhinoplasty approach by her speaking to
this doctor for knowledge and he gave her the answer we was looking for the entire
year if the patient indeed relies on that information from this doctor did Vinson
open the door for doctor Reis advise.

If so as to why she fail to enter this information in the patient chart at Vanderbilt
what she told the patient she was doing with the patient medical operation report
and that she was going to call patient back once she spoke with this doctor about the
procedure.

August 6, 2012 I got another polysomnography NPSG Report done in which the study
still states that I need to sleep with a mixture of apnea 7 episodes of hyperpnoea, l
episode of mixed apnea7 7 episodes of central apnea7 and 34 episodes of obstructive
apnea in other words the surgery did not improve the nasal airway I did have this test
done 2 year earlier, One other purpose of this surgery is to fix this too. But since Ford did
not check my neck and throat he would have known everything else that could be
keeping me from breathing correctly at night or while I am sleepingl

Au§;;ust 9.$ 2012 t went back to James l:`;`:`,. "jif"ayit_)r ltd (hete'ina.t`tet “jij`aylot) after surgery he
tie told me that .l still had int`ecti<;)'n in my nasal tip wl'tet'e liotd 'l.ttsetted the crash
eatti_iage. l.'.`)oct<:)i‘ "_`l"ayloi' had a n'iedi_oal student who was an oral mz~tsillol"'<:ieial surgeon
"l"a_y.lc_)r did not ask the was it <'.)l\"ay t"ot the student to he in the tot;)tri”? "l`aylot' teh that l
need to see a physiologist only because he did not l,)elieve that Ford lett a nasal packing
in my nose and that !i`otd would not have done surgery on me \»vi_thont doing a X-ra_y
heli`<;>re the operation So this was how l knew that l-`* ord was supposed to do this put as
You can see he did 'l`aylor told otin `li`ord heca.usel was tlna.\>vare that you st.lppose to do
this bet`ot'e surgery il"hese oonlitnt what l_ knew all along l thought my husband to this
visit because l.`)octor "i"ayl<i)t tt.)uehes the inapptt;)ptlate on my 'l"`tt'st visit this was the teason
i l;)t<i)ught` my l'tusbe.tnd to this last visit with hint But l.)oc.toi' "i"aylot tune change when l
f;~§<t\e him the medical transcript f`~`"<')td did on me and then he toid me that he too \,vould. not
do a Setoplasty like i*`t.>td done to me But he wt',niltl not tell me Why he would not do it
this way

 

48
Case 3:12-cv-01019 Document 7 Filed 10/16/12 Page 48 of 55 Page|D #: 94

 

Next, l got X-Ray from Doctor Justin Ard7 (spelling) D.C. (Hereinatter Ard) this
was the first time I meet him. I normally deal with Josh. I got X-Ray of my neck and
back. I asked about the billing break down he would not give it to me. l-le wanted to get
some type of loan instead of Medicare paying for the treatment l believe to pain for the
part B Medicare would not pay at least 80% but he wanted me to pay this with cash. lt
was around three thousand dollars And, he told me that I would not be able to get a copy
of my ultra should of my neck and back on a CD because it belong to him. He told me
this was the Tennessee Law.

Aug§ust 7 2l117 l then called and spoke with hhs laol<son about the e\pein.,nce had
with l>oet tort avlor She then told rne to speak with l\'irs Sharon llalpetn She tol l me
that she won ldt all< with l)oct tot laylor She di dr i<§ ht at ter l §§ot ott" the phone "§he told
me that l.)oetor `,l aylo_t told the what to do, Sl te told me that she trust her children with
I_`)oetor "l`aylor l i"elt: that the personal interest that other doctors put herr trust her ct;)llo§l§ue
is marine when voir ha\e prool on how you was hein<§ treated in horn ot udcuts l lelt
that l.)octot l"aylor hehayiol was inappropriate and n was done 111 lt out ol` the s1 tudent and
he had them to believe l need mental help '_`l"his was einl;)arrz-issing too because vl. was
having pain horn the swallowing mass and gland but 'l"aylor was gross negligent for not
checking my neck and throat out for observation

._-'-\u§§ust 9, 2Gl2 l wrote a letter and send lyllll`_ C`,"l" sean too dootor l.`)avid Slavit
(here'inal"ter Slayit;) who inform rne that he dan do ret:onstru<;:tive surgery to ila rny nose
l~-~le asked ute why this dri)ctor or lf)oet<i>r l~'""ord do a tissue sample l told hint l just do not
know Slavit told ute that there are things eou.ld have done l;`lut none oli`thern done that
but treat me with antihiotie, this man told me that he could lis my problem in thirty 30
days 111 which these doctor could have done in a year

Augns! 113 2012 1 w1 ot let tter l`or intent to Sue to lf)<.)etor K,elly A. ('Iarden_

August lZ, 201 2 20.{}{10 of mix bacteria and rnueus whlel'i was yeast int"eots but l still
had maxillary sinus infection too But since they did not give me medication t`or this
Sa.n§§eetl'ia t'l'1oug'h this made cause some elevated o't"tny blood pressure and fewer and
pulse and this was strt;)ng evidence ot` an intention /'f’\t horne l experienced severe
stomach pain lever and chills and l returned to the hospital While in the hospital my
blood 1;)1‘essu;re was elevated up and down and this was an 1111 known l;)acteria f 11 hous
infection l continued to experience severe upper stonn=tel ’1 pain Sangeetha who

per formed the vaginal prep sn1ea1 and she stated that every thing was normal But during
the test she did not cheek my stomach

Sangeetha failed to rule out other bacteria that could have been spill ing into my salivary
gland and maxillary sinus over a period o'l"tin"le causing unknown hac terial infection
l endured pain for months the) p ain that lead l`or me to go to thel. l§:',ll land they too eoi.\ld
not tell tne Where my fever is corning they just did not know l have presented myself to
rny t`atni`ly doctor with history ol`nasal drainage and t`ey er ll`or nt<i)nths now l`or which l
took an over~the~»eoutn:er n'tedioation and this oi'rl_y worl< tent ptu"ary. instead toy neck
continued to swell as a result ofthe bacterial inieoti<:)n_ What l do know is that my
anatomy was not like li`otd other patients l truly believe that 1~`" ord open up his entire
patient up :t"or a Setoplasty What l do not understand is why no one done a nasal eu_ltr.rre

49
Case 3:12-cv-01019 Document 7 Filed 10/16/12 Page 49 of 55 Page|D #: 95

 

for l`ungal and bacterial intentions skin testing 'l"ei‘ 'l`fl$, linngi, Vl`)ll_l.s ll'l"A~A`l:`iS,
CAN(§A, biopsy to rule out ant.eirnrnune.. Since we do not know how large the lvmph
nosed node l cm in diameter is considered abnorn:ial and should be consider il"or biopsy
it` it was diagnose with uncertain But was never done l done all the leg work myself
while l was si.cl<: and this was the hardesi then than having a baby

I believe that my agreement has been breached by failure to diagnose a medical
condition7 the doctor should be held liable this was a missed diagnosis that should not
have happen I had to be an advocate for myself it was just too much with what l was
going through. These doctors done selective listening, and there is no excuse for this I
have been injured by a medical provider, who should have been able to diagnose their
condition but failed to these doctor simply fail to explore all the possibilities to
diagnosing my illness Now I am seeing an oral surgeon tomorrow he is going to treat the
swelling of my throat

Aiigiist ll$/S(l/lejl_Z l went see lessica `l~`i`ay APN l\l`urse l?_ractitioner at the h~flinute (_`flinic
in Nashville because my oi"lice was close She told me that she could not treat my sinus
But l told her that was fine because l was not there 'li')r my sinus l wanted to know what
'liingt.is l was light because l. is»'as has/in 11 problem with break in §§ my lesi.r What l meant
is that once the antibii'i)tic is out ol` my system the ’li.;in§u.is bz-icteria returns l am lighting
with a temperature high blood pressure high pulse She llcssical went to the medical
book to see what thn_gus was the closes to is-»'hat was on my neck `l;`?iut, she (.lessica)
inli`orrned rn.e that it was nothln<§ she have saw er reco 111 ize or saw he'l"ore. So she said
that since it was not in the book l was going to say it was a l.`.`.>errnatophlosis on my body
(l)nly because she did not kn<'_iw but she has written she never saw this l;)el`ore and it was
not in the medial hook instead of guessing

October 3, 2011 went to the oral surgeon Doctor Pitts (hereinafcer Pitts) and he
recommend that I see Doctor Reis personally instead of Vinson translating messages back
and forth from her patient l told Pitts that I going to do a document and this case need to
be a case study for the Vanderbilt students since this case is one of a unique one. He told
me to come back because he will take a picture with me so that it would be document for
the story. Pitts also say that Reis would be the one to frx this but Itold him since Vinson
did not recognize the procedure that l was scared to let them do it without filming this
l-le began to laugh and I told him after all this I hope I be able to laugh with him. Future
visit will be schedule l also told him that I have appointment with doctor appointment
Friday in Chicago. He then insists that I see Reis because he knew I am in severe pain
and he believes that l need to get a graft remove out of my nose. And he believe this is
coming from the surgery back in August 10 2011, he told me that l have sinus infection
in my maxillary area and this is why the lymph node are swollen. When l lett the office l
called to set this appointment up. To be continuedl ..

October S, 2012 l went to iii ll at Stone Crest (tfen'ter and saw llodney llichni_ond PA_~(`.T
who diagnoses me with Atypioai `l-`iacial pain this also mean "dia§§n<:)sis ol`exclusive”’

which means that they (dc;)ctor/speclalist) must first test l`or <.nher causes oil the pain Once
we find these are not the case we can call it `“z<itypical racial ptiin"`

lie l llic-h mond) he thinl<s that my pain is likely related to the sw~'i-i.llowing in the

st.ihinandihu.lar gland and we wanted to wait to do a scans because he think that a l;`:`?l`N'l`

50
Case 3:12-cv-01019 Document 7 Filed 10/16/12 Page 50 of 55 Page|D #: 96

 

specialist would Want their own test done lie recommends that l see doctor Reis lioiri
vanderbilt R.icl'irnt:irid also t:lioi.:ight that l ina_v have e,intiinr)s and that have anvene look at
or done test t`o_r rn_y si.ihrna.ri_dihi.ilai: gland dual tstiiii.ie. l told him there no iet:erit test theen
done R.iehmr;)nd also thinks l have the rnt.iirips so he told me to get iii with d<.ic-toi Reis

(;.`.{)N (`,`.`l..if il fill {) l\l

What these doctors done to me is it:isi iiriiiioral aiid eo\vaidly and unheard ot`. lo
just take advantage at lay peer people is i.iniiist.. ,§rid this should he a lessen learn t;`oi all
parties "`l`here were 1 number ot`t`actots and disadvantage that should he well level l had
to endure more ecenoniic- phy sit al and mental lialleri<>es heeaiise ot these del eiidaiits l
have endiiied intentional lntlietioii oi:` pain and su t`:leiiiig int the hands o[ inv d<iicieis. l,
believe any person income alone sl‘i<.iuld net keep anyone tie 111 getting the proper care vv'e
need l do riot wish to evaluate the merits of my own case because I arn facing a real
struggle by lack of knowledge and lack of objectivity of what a lawyer can do. l am
begging this court for a delay in filing because I did not receive a true answer about the
operation until a year later alter the surgery

W'i-'iIi)R.I§,li(`)Rlil l pray l"er relie'l`:

l_he ll lai ntilt` begs this cotiii:t to giant my i‘\incnded ‘\lotion s aiidt tie allow the
Plaiiiti:i"`i' to he <71aili ted delay ot lili.ng t'ii) i`hei legal action se that she get have the suigcry
done he able toheal and take back eoiitiol ot hei health And new since this court is
aware ot the l.)el :`enda.nts is coming tot this etiiiit twith unclean hands l need to have the
same equal `halant:e playing field as said the i_`)e:l"eii<;laiits,

i-\_ "l"he this court to all the lllaintit"t"to add all said l.`)et`"eridairts` to be add to
this lawsuit iii this e<;)riiplaii iit at a later date and the if)et`eridaiit:s" lie
given time to answer such t‘diii;)laint attains tthem.

ll This etiti rt lind that the l_`)ei:eiidarits are guilty i`i`or corning to court with
unclean hand

(I~ Allow the .l`.`)et"erida.i'its to hand over iri discovery iiiatei‘ial ol` any
t.i,iipuhlished lliidervvritlng medical inali>rat:tiee, sanction, arbitratiort
settlen'ients, inadieat:ir_iii neg<‘itiatleii against any
eiri.;)le_vties/agentsv'”servarit:s on a conflict et` iiii;eresi: :asev medical
triali;iraetiee,..-"'n'iedleal negligei'it:, patient ahaiidornrieiit in its entity

l')~ ll`~"‘ind ibid he l`oi.iiid guilty net iii_t`<;irniing the patient and her li`arnily l"`or
i'ei'ni;)vingt the pat t:iei:it maxillarv ei‘est spur vvheii he negligent taiid i"ail
to dietate this iii tilairit;i il`t` medical operation transciipt report att errand
be;l` ore stirgerv /§iid this was not medical iieeessaiy lhat: it somethiiia
was vvr one he could have told plaintil i":tthis het`oie and that l old could
have ran media al irnaeesheloretlie suieeiy llit tvvas not vv'i'i tile in his
l finding and lack to iiil`oiin he plaint tilt then it was not riiedieal
iiec.,essai y oi ut gent

l§i. To order these doctors to ai;iieiid her rnedieal records for calling her
5 l

Case 3:12-cv-01019 Document 7 Filed 10/16/12 Page 51 of 55 Page|D #: 97

 

 

(`.i~.

i\~ft,

Case 3:12-cv-01019 Document 7 Filed 10/16/12 Page 52 of 55 Page|D #: 98

orazy when indeed she was herring true paid in her throat, iiei:i<,
ee.t‘s, nose pain that spread eisen/here beoatise ofthese doctor
ri:tedieal care treatment was truly delay And to inter the correct
diagnosed as stated in her medical record prior ot`seeing these doctors
Such as the mass growth she had back in 2(`_><`.`)§§ ther at the time wes `l
eni hurt since grew and the said I.`)eifehdant Was negligent for delay ol"
getting those records and comparing said hodges

'j.l"_hat this court allows a delay in ii.ling since these lj)el:eridants is
corning to court with t.rnolean hands Witl'i h/l.edioa.re/"i.\rl,ed.ieaid hillin d
'li'aud. nted.i rel reoti)rds tetnneriii§_,g., alterin§_._?w rewritingv til.eletiur_.r, and
destroying <'_)t`reoo.l'd. And so that that the ii*l,aintil"i" be a.hle to get an
€-r.ttr_)rnejsv to clean up this oon'iolaint and to get the ini`r,)rinati<')n done
correctly

That this court find the i`_`)el"endan.ts’ guilty o'i" some predigest and
i'nedi<;a`l tneloraotieef medical negligent i'nisdia§;nosis and delay ot`
dia§;nr_)sis and patient eha_ndoni;nent and other actions i)iti:intit`t` have
rnentitim in her nieadihgs.

That this oor,:tr't gi'a)‘its the li’lahttil"i`delay in 'lilin§j since it took a year to
he inform hy these det`e nda nrs that theyl woi.ild not 'oerl'i')rm Open
Setoplasty

./-\llow the seid ji`.)e‘t`endants` to hand over atl discovery material
dt;)e-riinent in its entity hut not limited phone records from .`l`ul l 201 l
until present o:t`al.l patient in its entity who had and who have discuss
atty said ot)era.tic_)n consist o‘l` the it`ollt.rwiri§_;; {`)pen Setoplasty by
means of (_)pen Rhinoplasty and "I"u_i'hinat.edetomy and eiose
Setopi:itsty tried Rhinoplasty and atty or ali Setoplasty and
Rhinoplasty and "i`urhhiate reduction Srirger;.r

'lf`hat this ease he heard and grand over by a jury of twelve (12) as a
matter oli` law, Si_rioe this should he there job to determine What is t`air,

just and reasonable t:on'tpen.sz-rti<`)n 'l"oi' this Plaintiff and her t`ar_ni.`ly.

That this oot;irt gives the Piainti:l”l:"tirrie to get all her doctors and expert
witness letter since the local doot<;)r she saw do not reo<'_igr_ii;z..e the
procedure technique and it was riot un<'.ler her oohtrr_)l and she Would
riot have nert`orin such prooedure. And she has to do endure atl this

While she is stiil very ill

"i"hat this court 'l"oi.rnd the l.`,`)e'l"endehrs guilty l"or the atitirr)xit‘riait:el§./ oai.tse
o'l` the l§’lain tit*l" in jury and that the t).laintir"l` tear that she was ei'i'aid that
she was going to die it` she cot.ild never find out What was truly Wrong
With her A doctor had told her she could die from this it` the matter is
not dealt With

v'flj"ha:t this oo'u.rr tied and order the De'l`ien,dent Soutl:iern ii~ii`ills radiologist

52

 

li .

department tech nieian/doet<i)r retrieve ali ot`the l\¢iRji_i (__f'jl` sean and XW
ray images and e<;)mpa.ted ti.iose images With prior images so that the
plaintii`il"` get a coit'ect diagnose since she paid 'For the correct
int`<')rmation, she is entitle to reeeive in order to get a proper treatment
plan

'"l,`l'iat this eoi.i.rt find each i)elfendants` gtriity ei" the i"ia.intii"t"physical

i,njury and i_nental angi_iish that she he awarded i’i.initive damages in the
amount ot` ‘i»

T hat the ll.`f)e'ii`endant he i"ol.:irtd guilt y i"o.r lihei dan;iages and be awarded
i“th@€NHOUHTOi$ _______________________________________________________________________

'jl`hat this court tind that each I_`)etendants’s guilty o;t"i`)laintii"t" injury and
she he granted (`__`.<i)mpensi~ttory damages against each I.`)etendants’ Which
consist c'i"'i:`§:`.conomic and or non~rn<_)netary damages :t`or what she have
si.iit`ered and endi,ire 'i`r_)r the past ti'_>i,irteen niontlia Ahd i"or reasonable
likely to suffer in the 'i'i,iti,ire, less ot`diminutic'_)n ol" the al:)iiity to enjoy
lil"e’s pleasures and as a result ot`the <;le'l:`endants” negligence in the

\

amew“@i$amawwwwm

 

That the E?’i.aintit`t` husband he granted hess ot` (`..`.ons<_)rtium t`or the
injuries the Piaintil:`i" husband had to enc<_)t.inter, 'jl"hat these dcetors` and
nurses he found guilty and he sanctions for their part ot` the medical
malpractice cover tip and that a proper t`ederai investigation to be done
in erder tie |:)roteet :t`ut:nre patient in their care

“jl"liat the ij)el`endants’ For<:l he gi,:iilty o,t` concealing error i'n'l'i')rmation
from harm ed lie cause the l~"iaintit"'l"`n'iigl'it he tz'.tnt'amoi.int to trend
Reasonahie atti')rney fees in the am<;)nnt ot` 8

The Plaintiff claims monetary damages against each Defendant’s in an
amount to be determined at trial, plus costs.

"`§"hat the _l`_`)etendz-ints has a er)ni’iiet ei` interest in the case at hat
l)eeat,ise o'l" the medical malpractice inst.;iret may deny eoyerage to a
;:)hysician on the grennds that the doctor \'i<.)iated the c<'_)<'_)petatir:)n elai.ise
by inti'.)rming a patient ot`a harm»~eausing error

That this court grants the Plaintiff for any further relief that this
Honorable Court deems necessary and appropriate

53

Case 3:12-cv-01019 Document 7 ` Filed 10/16/12 Page 53 of 55 Page|D #: 99

 

   

y 5 `

Ri§i__`.’ fl ""i""li`l.`,l.i..i.l___i\;" Sl.iB.M.jij'lj"Tii:i),

S ~ te "a ibrahim tpt'ose temp<.)rary
3 §§ l 6 'jif`ea (§`.`.iar<iien Wzt y ti_ 1':`~. \.:i _

to l. 5) 563~5()46

C§§'R'I‘f!ffi",!.(:A'I.`iii (`_)ii` SB:»:RR\"](_`I}§ZS

`_i. Sh_en'iel<a l.i'_)rahim am sending this §`*»‘it‘st Axnended 'z\"ietion!(`f,fompieint and the tirst
i\'”loti.<i)ns to the entire above i)e'iendants` listed al:)oye i)y hand delivered or ilnited Stated
`Pos'tai Ser\fice Nas‘nyilien TN 37()13, {:)n this ltl)~ii'" day <.)i:`(j)ctoher ?,t`.`)l.?,

    
 

ji{l§$}>:!i`» .1" :`:F'{_l LI..JY S`{,iBM '1’]:`"§"!§ l),

She in el< a i h ita hi in (‘pr‘<‘) se t em p orary)

39 i o "i"ea Ciarden Way Arn:ioeh, l.N
37()13 (e`i§`)) :’So§t~$()~/iti

(_L`e:

'I"ennessee §_)epartment of 'Heaitli (`)fi`ice ot` investigation l‘~~ieritage piaee i\/i.etro (`.`,enter
227 irene-h intending Stiite QOl Nasl'ryille Ti\l 37243

Ste§)hanie (jf. l»ilatehet attorney i`or defendant i\-»’h,n‘t`teesh<')to i\-"ledic:al ('f`linit: l 01 West
li’arl~\" `.l`f)t'iye Si.tite 3()()Naslt\-’ille, 'jl"N fi'?();?"i'»$i)f$l

Presidenf: .Barae.k Oi)ama (`lhiet`ii)r. .§. Nadine (}areia I)epartment of t»»ieaith and
`!~¥ttman Serviees

"i_"he \`-’v""hite l~-`l<'.)nse `l€iit)t) i`-’e:nneyl\/ania Ave_ntie fl\? W
Wat;hington, `{)(" 2();’$()0 202-456~`1 4 l ft

"i"ennessee Department of `l~i'ealth Medieai Complaint l.`)e;;)attment 425 Sth .»’\yentie
North (“.j?<'.)i‘tieii l"»i`till i`:`§uil,ding_;.y itrd `li`loor Nashville “`i"ennessee 372¢13 to l S) 7a l ~3`1 l l

`liieait.h Instu‘an€e `Pertabiiity and /-*s.eceunta§)ility s\ct (i~*i"ll"i`~"../§)

Wasf'iington jl}.(`,\ 'i*'iead Department oi` l*ienith and tiernan Serviees (1`§ltiei`

54
Case 3:12-cv-01019 Document 7 Filed 10/16/12 Page 54 of 55 Page|D #: 100

zqizer,t is rtth l8

‘;1;¢-.:~~%

written 'iri\i; stat 3 H\Ul`*~‘§ *""‘* ‘

 

Rep lt,'eon Rod.ri_gttez, if)ireetor

(j}Hiee for Ci\/il R.ights

U.S. if)epartment ot`l-*l'eaith and littman Set\~'ices
200 independ.el'ice /-\yenne, S_W_

:R.oon'i 5()9}*` i~~~i`i~~~i`i-i `i:`,iitlg'_

Wa&;hii.t{§.'-;to'nq if).(`§. 2020]

(.`Ihief` Margret iiiamhurg i%`eod and f)rug Administrative investigation Department
i()®?)t".ij$ New i~-ianipshire /-\yentie Sil\;er Sp:ring i\/il_`) 20993 i-SSS~»¢it)_`B~»oS,-H

Windsor Medicare lilxtra `l..iegai Department '7 i_OO (15<'_)rt.ti'r)eéi“ce Way Sttite 28$
l:`§rentw<_)od 'i"i\l 37027 l»StSCi~Z?tt»;SZR;S WWW.WindsorEXtra.com

55
Case 3:12-cv-01019 Document 7 Filed 10/16/12 Page 55 of 55 Page|D #: 101

